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                             UNITED STATES BANKRUPTCY COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION


In re:                                                            Case No. 2:24-bk-11569-BR
METROPOLITAN THEATRES                                             Chapter 11 (Subchapter V)
CORPORATION, a California corporation,
                        Debtor.
TAX ID.: XX-XXXXXXX

        GLOBAL NOTES AND STATEMENTS OF LIMITATION, METHODOLOGY,
        AND DISCLAIMERS REGARDING THE DEBTOR’S SCHEDULES OF
        ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

            Metropolitan Theatres Corporation (“MTC”) debtor and debtor in possession
      (the “Debtor”)1 filed for chapter 11, subchapter V (the “Chapter 11 Case”) and in
      connection therewith has filed its respective Schedules of Assets and Liabilities
      (collectively, the “Schedules”) and the Statement of Financial Affairs (collectively, the
      “Statements” and, together with the Schedules, the “Schedules and Statements”) in the
      United States Bankruptcy Court for the Central District of California (the “Bankruptcy
      Court”). The Debtor, with the assistance of its legal and other advisors, prepared the
      Schedules and Statements, pursuant to section 521 of Chapter of Title 11 of the United
      States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
      Procedure (the “Bankruptcy Rules”), which are unaudited.

           While the Debtor’s management has made every reasonable effort to ensure that the
      Schedules and Statements are as accurate and complete as possible, subsequent
      information or discovery could provide more information about the items identified in the
      Schedules and Statements, and inadvertent errors or omissions may have occurred.

             These Global Notes and Statement of Limitations, Methodology, and Disclaimers
      Regarding the Debtor’s Schedules and Statements of Financial Affairs (the “Global
      Notes”) are incorporated by reference in, and comprise an integral part of, the Debtor’s
      Schedules and Statements, and should be referred to and considered in connection with
      any review of the Schedules and Statements.

             The Schedules and Statements for the Debtor are signed by David Corwin,
      President of the Debtor. In reviewing and signing the Schedules and Statements,
      Mr. Corwin relied upon his knowledge of the business, accounting and financial data
      provided by the efforts, statements, advice, and representations of personnel of the Debtor

1
    The last four digits of the Debtor’s federal tax identification number are 2289.

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   and the Debtor’s legal and other advisors.

           In preparing the Schedules and Statements, the Debtor relied on financial data
   derived from its books and records that was reasonably available at the time of such
   preparation. The Debtor, and its agents and attorneys do not guarantee or warrant the
   accuracy or completeness of the data that is provided herein, and shall not be liable for any
   loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,
   whether negligent or otherwise, in procuring, compiling, collecting, interpreting,
   reporting, communicating, or delivering the information contained herein. While
   commercially reasonable efforts have been made to provide accurate and complete
   information herein, inadvertent errors or omissions may exist. For the avoidance of doubt,
   the Debtor and its professionals expressly do not undertake any obligation to update,
   modify, revise, or re-categorize the information provided herein, or to notify any third
   party should the information be updated, modified, revised, or re-categorized, except as
   required by applicable law. In no event shall the Debtor, or its agents or attorneys be liable
   to any third party for any direct, indirect, incidental, consequential, or special damages
   (including, but not limited to, damages arising from the disallowance of a potential claim
   against the Debtor or damages to business reputation, lost business, or lost profits), whether
   foreseeable or not and however caused, even if the Debtor or its agents or attorneys are
   advised of the possibility of such damages.

           To the extent the Debtor pays any of the claims listed in the Schedules and
   Statements pursuant to any orders entered by the Bankruptcy Court, the Debtor reserves
   all rights to amend and supplement the Schedules and Statements and take other action,
   such as filing objections to Claims, as is necessary and appropriate to avoid overpayment
   or duplicate payment for such liabilities.

        Global Notes and Overview of Methodology

   1.       Description of Case. On February 29, 2024, (the “Petition Date”), the Debtor,
            MTC, filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

   2.       Reservations and Limitations. Commercially reasonable efforts have been made
            to prepare and file complete and accurate Schedules and Statements; however, as
            noted above, inadvertent errors or omissions may exist. Nothing contained in the
            Schedules and Statements constitutes a waiver of the Debtor’s rights or an admission
            of any kind with respect to this chapter 11 case, including, but not limited to, any
            rights or claims of the Debtor against any third party or issues involving substantive
            consolidation, equitable subordination, or defenses or causes of action arising under
            the provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable
            bankruptcy or non-bankruptcy laws to recover assets or avoid transfers.
            Any specific reservation of rights contained elsewhere in the Global Notes does not
            limit in any respect the general reservation of rights contained in this paragraph.

            (a)    No Admission. Nothing contained in the Schedules and Statements is
                   intended or should be construed as an admission or stipulation of the validity

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               of any claim against the Debtor, any assertion made therein or herein, or a
               waiver of the right to dispute any claim or assert any cause of action or
               defense against any party.

        (b)    Recharacterization. Notwithstanding that the Debtor has made
               commercially reasonable efforts to correctly characterize, classify,
               categorize, or designate certain claims, assets, executory contracts,
               unexpired leases, and other items reported in the Schedules and Statements,
               the Debtor nonetheless may have improperly characterized, classified,
               categorized, or designated certain items.

        (c)    Categories or Labels for Purpose of Presentation in Schedules and
               Statements. Information requested by the Schedules and Statements
               requires the Debtor to make a judgment regarding the appropriate
               category in which information should be presented or how certain
               parties, claims or other data should be labeled, if at all. The Debtor’s
               decisions regarding the category or label to use and to include (or not
               include) any claim or other item in the Schedules and Statements is based
               on the best information available as of the filing of these Schedules and
               Statements and within the time constraints imposed.

        (d)    Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim
               on Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule
               G as “executory” or “unexpired” does not constitute an admission by the
               Debtor of the legal rights of the claimant or contract counterparty, or a
               waiver of the right to recharacterize or reclassify such claim or contract.

        (e)    Claims Description. Any failure to designate a claim on the Debtor’s
               Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
               does not constitute an admission by the Debtor that such amount is not
               “disputed,” “contingent,” or “unliquidated.”

        (f)    Estimates and Assumptions. The preparation of the Schedules and
               Statements required the Debtor to make reasonable estimates and
               assumptions with respect to the reported amounts of assets and liabilities,
               the amount of contingent assets and contingent liabilities on the date of the
               Schedules and Statements, and the reported amounts of revenues and
               expenses during the applicable reporting periods. Actual results could differ
               from such estimates.

         (g)   Causes of Action. Despite commercially reasonable efforts, the Debtor may
               not have identified all current and potential causes of action the Debtor may
               have against third parties in its respective Schedules and Statements,
               including, without limitation, avoidance actions arising under chapter 5 of
               the Bankruptcy Code and actions under other relevant bankruptcy and non-


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                    bankruptcy laws to recover assets.

           (h)      Insiders. In the circumstance where the Schedules and Statements require
                    information regarding “insiders,” in addition to information with respect to
                    the Debtor’s affiliates, the Debtor has included information with respect to
                    certain individuals who served as officers and directors, as the case may be,
                    during the relevant time periods.

                   The listing or omission of a party as an insider for purposes of the Schedules
                   and Statements is not intended to be, nor should it be, construed as an
                   admission of any fact, right, claim, or defense and all such rights, claims, and
                   defenses are hereby expressly reserved. Information regarding the
                   individuals listed as insiders in the Schedules and Statements has been
                   included for informational purposes only.

      3.         Methodology.
           (a)      Basis of Presentation.

           These Schedules and Statements do not purport to represent financial statements
           prepared in accordance with accounting principles generally accepted in the
           United States (“GAAP”), nor are they intended to fully reconcile to the financial
           statements prepared by the Debtor. These Schedules and Statements reflect the
           best available estimate of assets and liabilities of the Debtor, except where
           otherwise indicated. Information contained in the Schedules and Statements has
           been derived from the data extracted from the Debtor’s available books and
           records. The fair value and net realizable value of real and personal property may
           vary materially from the net book value presented herein.
           Given, among other things, the uncertainty surrounding the condition, collection
           and ownership of certain assets and the valuation and nature of certain liabilities,
           to the extent that the Debtor shows more assets than liabilities, this is not an
           admission that the Debtor was solvent as of the Petition Date or at any time prior
           to the Petition Date. Likewise, to the extent the Debtor shows more liabilities than
           assets, this is not an admission that the Debtor was insolvent as of the Petition Date
           or any time prior to the Petition Date.
           All asset information, except where otherwise noted, is reflected through
           December 31, 2023.
           All liability information, except where otherwise noted, is reflected through the
           Petition Date.

           (b)      Confidential Information. There may be instances in the Schedules and
                    Statements where the Debtor deemed it necessary and appropriate to redact
                    from the public record information such as names, addresses, or amounts.
                    Generally, the Debtor may have used this approach because of a

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               confidentiality agreement between the Debtor and a third party, for the
               protection of sensitive commercial information, or for the privacy of an
               individual.

         (c)   Undetermined Amounts. The description of an amount as “unknown” or
               “undetermined,” is not intended to reflect upon the materiality of such
               amount.

        (d)    Unliquidated Amounts. Claim amounts that could not be readily quantified
               by the Debtor are scheduled as “unliquidated.” The description of an amount
               as “unknown,” or “undetermined" is not intended to reflect upon the
               materiality of such amount. Any failure to designate a claim in the Schedules
               and Statements as “contingent,” “unliquidated,” or “disputed” does not
               constitute an admission by the Debtor that such claim or amount is not
               “contingent,” “unliquidated,” or “disputed.” The Debtor reserves all rights to
               dispute, or to assert offsets or defenses to, any claim reflected on the
               Schedules and Statements on any grounds, including, but not limited to,
               amount, liability, priority, status, or classification, or to otherwise
               subsequently designate any claim as “contingent,” “unliquidated,” or
               “disputed.”

        (e)    Totals. All totals that are included in the Schedules and Statements represent
               totals of all known amounts. To the extent there are unknown or
               undetermined amounts, the actual total may be different from the listed total.

        (f)    Affiliate Claims. The Debtor maintains business relationships with other
               entities, conducting business from time to time that may result in affiliate
               receivables and payables and/or are on account of capital contributions,
               equity investments, or distributions on account of equity investments.
               Known and assumed prepetition receivables and payables among and
               between the Debtor and its affiliates are reported on Schedule A/B, and
               Schedule E/F, respectively, per the Debtor’s books and records. The listing
               of any amounts with respect to such receivables and payables is not, and
               should not be construed as, an admission of the characterization of such
               balances as debt, equity, or otherwise. Intercompany balances have been
               reconciled as of December 31, 2023.

        (g)    Guarantees and Indemnification Claims. The Debtor has exercised
               commercially reasonable efforts to locate and identify guarantees of its
               executory contracts, unexpired leases, secured financings, and other such
               agreements. Where guarantees or indemnification claims have been
               identified, they have been included in the relevant Schedules E/F, G and H.
               The Debtor may have inadvertently omitted guarantees or indemnifications
               embedded in its contractual agreements and may identify additional
               guarantees or indemnifications as it continues to review its books and records
               and contractual agreements. The Debtor reserves its rights, but is not
               required, to amend the Schedules and Statements if additional guarantees

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                  are identified.

           (h)    Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

      4.       Specific Schedules Disclosures.
           (a)    Schedules Summary. Except as otherwise noted, the liability totals
                  represent amounts through the Petition Date, and asset totals are through
                  December 31, 2023. A portion of nonsalable inventory for three noted
                  theatres is as of January 1, 2024.

           (b)    Schedule A/B – Parts 1 & 2 - Cash and Cash Equivalents; Deposits and
                  Prepayments. Details with respect to the Debtor’s bank accounts are
                  provided in the Debtor’s Schedules, and are calculated as of the Petition Date.
                  The funds held in the checking account on the Petition Date at American
                  Riviera Bank, account number ending 7825, are held in trust for the benefit
                  of third party licensee beneficiaries until reconciled in the ordinary course
                  of business.

           (c)    Schedule A/B Part 3 – Accounts Receivable. The Debtor’s accounts
                  receivable have been reconciled as of December 31, 2023. Accounts
                  receivable do not include intercompany receivables. Intercompany
                  receivables are reported in Schedule A/B Part 11, Question 77.

           (d)    Schedule A/B Part 9 – Real Property. The Debtor does not own any real
                  property. The Debtor has listed its real property leases in Schedule A/B
                  Part 9, Question 55.

           (e)    Schedule A / B Part 11 – All Other Assets. Other than real property leases
                  reported in Schedule A/B Part 9, Question 55, the Debtor has not necessarily
                  set forth executory contracts and unexpired leases as assets in the Schedules
                  and Statements, even though these contracts and leases may have some
                  value to the Debtor’s estate. The Debtor’s executory contracts and unexpired
                  leases have been set forth in Schedule G.

           (f)    Other Contingent and Unliquidated Claims or Causes of Action of Every
                  Nature, including Counterclaims of the Debtor and Rights to Setoff
                  Claims. In the ordinary course of its businesses, the Debtor may have
                  accrued, or may subsequently accrue, certain rights to counterclaims,
                  crossclaims, setoffs, credits, rebates, or refunds with its customers and
                  vendors. Because such claims are unknown to the Debtor and not
                  quantifiable as of the Petition Date, they are not listed on Schedule A/B,
                  Part 11. The liabilities listed on the Schedules do not reflect any analysis of
                  Claims under section 503(b)(9) of the Bankruptcy Code. Accordingly, the
                  Debtor reserves all of its rights to dispute or challenge the validity of any
                  asserted Claims under section 503(b)(9) of the Bankruptcy Code or the
                  characterization of the structure of any such transaction or any document or
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              instrument related to any creditor’s Claim. When Claims arise on various
              dates, the date may be left blank or listed as “various” on the Schedules.
              Schedule E/F – Creditors Who Have Unsecured Claims.

              Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities
              identified in Schedule E/F Part 2, are derived from the Debtor’s books and
              records. The Debtor made a commercially reasonable attempt to set forth its
              unsecured obligations, although the actual amount of claims against the
              Debtor may vary from those liabilities represented on Schedule E/F Part 2.
              The listed liabilities, which have been listed on a gross accounts’ payable
              basis, may not reflect the correct amount of any unsecured creditor’s allowed
              claims or the correct amount of all unsecured claims.

              Schedule E/F Part 2, does not include claims that may arise in connection
              with the rejection of any executory contracts and unexpired leases, if any,
              that may be or have been rejected.

              In many cases, the claims listed on Schedule E/F Part 2, arose, accrued, or
              were incurred on various dates or on a date or dates that are unknown to the
              Debtor or are subject to dispute. Where the determination of the date on
              which a claim arose, accrued, or was incurred would be unduly burdensome
              and costly to the Debtor’s estate, the Debtor has not listed a specific date or
              dates for such claim.

              As of the time of filing of the Schedules and Statements, the Debtor may not
              have received all invoices for payables, expenses, and other liabilities that
              may have accrued prior to the Petition Date. Accordingly, the information
              contained in Schedules E/F may be incomplete. The Debtor reserves its
              rights, but undertakes no obligations, to amend Schedules E/F if, or when,
              the Debtor receive such invoices.

              In many cases, scheduled amounts due to creditors contemplate the
              possibility that checks issued prior to the Petition Date were cashed by such
              creditors. If such checks ended up being dishonored as of the Petition Date,
              the amount owed to such creditors could increase by the amount of the
              dishonored checks. The Debtor has not reconciled which checks have
              cleared and which have not, but assumes for the Schedules and Statements
              that they cleared prepetition.

        (g)   Schedule G – Executory Contracts and Unexpired Leases. While
              commercially reasonable efforts have been made to ensure the accuracy of
              Schedule G, inadvertent errors or omissions may have occurred. Omission
              of a contract or agreement from Schedule G does not constitute an admission
              that such omitted contract or agreement is not an executory contract.

        (h)   Schedule H – Codebtors. For purposes of Schedule H, the Debtor may not

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                    have identified certain guarantees associated with the Debtor’s executory
                    contracts, unexpired leases, secured financings, debt instruments, and other
                    such agreements. In the ordinary course of its business, the Debtor may be
                    involved in pending or threatened litigation. These matters may involve
                    multiple plaintiffs and defendants, some or all of whom may assert cross-
                    Claims and counter-Claims against other parties. Because the Debtor has
                    treated all such Claims as contingent, disputed, or unliquidated, such Claims
                    have not been set forth individually on Schedule H. Litigation matters can
                    be found on the Debtor’s Schedule E/F Part 2 and Statement Part 7, as
                    applicable.

      5.         Specific Statements Disclosures.

           (a)      Statements, Part 1, Question 1 – Gross Revenue from Business.
                    The Debtor’s books and records relating to revenue have been reconciled as
                    of September 30, 2023.

           (b)      Statements, Part 2, Question 3 – Payments and Transfers to Certain
                    Creditors within 90 Days. The dates set forth in the “Dates” column relate
                    to one of the following: (i) the date of a wire transfer; (ii) the date of an
                    “ACH” processing; or (iii) the check date. In many cases, scheduled
                    amounts due to creditors contemplate the possibility that checks issued prior
                    to the Petition Date were cashed by such creditors. If such checks ended up
                    being dishonored as of the Petition Date, the amount owed to such creditors
                    could increase by the amount of the dishonored checks. The Debtor has not
                    reconciled which checks have cleared and which have not, but assumes for
                    the Schedules and Statements that they cleared prepetition.

           (c)      Statements, Part 2, Question 4 – Transfers to Insiders within One Year.
                    The Debtor’s books and records relating to intercompany transactions with
                    affiliates have been reconciled as of December 31, 2023. Intercompany
                    balances have been reconciled as of that date.

           (d)      Statements, Part 3, Question 7 – Legal Actions or Assignments. The Debtor
                    does not know of any workers’ compensation claims in response to this
                    question. However, if any become known the Debtor maintains that
                    disclosure would be in violation of certain laws including HIPAA (Health
                    Insurance Portability and Accountability Act of 1996).

           (e)      Statements, Part 11, Question 21 – Property Held for Another. As of
                    December 31, 2022, approximately $401,981 in purchased and unredeemed
                    gift cards were outstanding across all of the Debtor’s corporate-owned
                    locations (and those of non-debtor affiliates). In the ordinary course of
                    business, the Debtor reconciles gift card balances soon after conclusion of
                    the year. The Debtor has yet to perform that reconciliation for calendar year



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                 2023, but believes that the amount of gift cards outstanding as of the Petition
                 Date does not materially exceed that amount.

          (f)    Statements, Part 13, Question 30 – Payments, Distributions, or
                 Withdrawals Credited or Given to Insiders. Unless otherwise indicated
                 in the Debtor’s specific response to Statement Part 13, Question 30, the
                 Debtor has included a comprehensive response to Statement Part 13,
                 Question 30 in Statement Part 4.
        These Global Notes are in addition to the specific notes set forth in the Schedules
  and Statements of the Debtor. The fact that the Debtor has prepared a Global Note with
  respect to a particular Schedule or Statement and not as to others does not reflect and
  should not be interpreted as a decision by the Debtor to exclude the applicability of such
  Global Note to any or all of the Debtor’s remaining Schedules or Statements, as
  appropriate. Disclosure of information in one Schedule, one Statement, or an exhibit or
  attachment to a Schedule or Statement, even if incorrectly placed, shall be deemed to be
  disclosed in the correct Schedule, Statement, exhibit, or attachment.




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Fill in this information to identify the case:

Debtor name: Metropolitan Theatres Corporation
United States Bankruptcy Court for the: Central District of California
Case number (if known): 24-11569

                                                                                                                                                                   ¨ Check if this is an
                                                                                                                                                                         amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                               12/15

 Part 1:     Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)




     1a. Real property:
         Copy line 88 from Schedule A/B ......................................................................................................                          $0.00



     1b. Total personal property:
         Copy line 91A from Schedule A/B ....................................................................................................                       $2,633,640.92



     1c. Total of all property:
         Copy line 92 from Schedule A/B ......................................................................................................                      $2,633,640.92

 Part 2:     Summary of Liabilities



2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D .................                                                  $5,697,934.00



3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)




     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F .........................................................                                    $534,070.33



     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F ............................                                              + $9,088,736.00




4.   Total liabilities
     Lines 2 + 3a + 3b .........................................................................................................................................   $15,320,740.33




Official Form 206Sum                                  Summary of Assets and Liabilities for Non-Individuals                                                                 Page 1 of 1
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Fill in this information to identify the case:

Debtor name: Metropolitan Theatres Corporation
United States Bankruptcy Court for the: Central District of California
Case number (if known): 24-11569

                                                                                                                        ¨ Check if this is an
                                                                                                                               amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                         12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and
properties which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any
executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added,
write the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If
an additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.
For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

    Part 1:      Cash and cash equivalents

1.         Does the debtor have any cash or cash equivalents?
           ¨ No. Go to Part 2.
           þ Yes. Fill in the information below
           All cash or cash equivalents owned or controlled by the debtor                                             Current value of
                                                                                                                      debtor’s interest

2.         Cash on hand
2.1.1      PARK THEATRE - SAFE FUNDS                                                                                  $3,300.00
       1
2.2.       ARLINGTON THEATRE - SAFE FUNDS                                                                             $9,500.00

2.3.1      FIESTA 5 THEATRE - SAFE FUNDS                                                                              $3,500.00

2.4.1      METRO 4 THEATRE - SAFE FUNDS                                                                               $4,050.00
       1
2.5.       PASEO NUEVO THEATRE - SAFE FUNDS                                                                           $3,000.00

2.6.1      PLAZA DE ORO THEATRE - SAFE FUNDS                                                                          $1,500.00

2.7.1      FAIRVIEW 3 THEATRE - SAFE FUNDS                                                                            $1,850.00
       1
2.8.       CAMINO REAL CINEMA 6 - SAFE FUNDS                                                                          $5,300.00

2.9.1      CALEXICO 10 THEATRE - SAFE FUNDS                                                                           $2,600.00


1
    AS OF 2/29/2024



3.             Checking, savings, money market, or financial brokerage accounts (Identify all)
               Name of institution (bank or brokerage firm)   Type of account           Last 4 digits of account      Current value of
                                                                                        number                        debtor’s interest
3.1.1          CITY NATIONAL BANK                             DEPOSITORY                5110                          $16,833.44
3.2.1          CITY NATIONAL BANK                             DISBURSEMENT              2907                          $0.00
3.3.1          CITY NATIONAL BANK                             CHECKING PAYROLL          2906                          $0.00

Official Form 206A/B                              Schedule A/B: Assets — Real and Personal Property                               Page 1 of 13
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Debtor        Metropolitan Theatres Corporation                                                                        Case number (if known) 24-11569

3.             Checking, savings, money market, or financial brokerage accounts (Identify all)
               Name of institution (bank or brokerage firm)      Type of account                  Last 4 digits of account       Current value of
                                                                                                  number                         debtor’s interest
3.4.1          AMERICAN RIVIERA BANK                             CHECKING/MONEY MARKET 9433                                      $45,373.47
       2
3.5.           AMERICAN RIVIERA BANK                             CHECKING                         7825                           $220,184.55


1
    BALANCE AS OF 2/29/2024
2
    BALANCE AS OF 2/29/2024 AND SEE GLOBAL NOTES



4.            Other cash equivalents (Identify all)
              Description                 Name of institution             Type of account             Last 4 digits of account   Current value of
                                                                                                      number                     debtor’s interest
4.1.          _____________________ ________________________ _____________________ _____________________ $_______________

5.         Total of part 1
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                            $316,991.46

    Part 2:      Deposits and prepayments

6.         Does the debtor have any deposits or prepayments?
           ¨ No. Go to Part 3.
           þ Yes. Fill in the information below
7.            Deposits, including security deposits and utility deposits
              Description, including name of holder of deposit                                                                   Current value of
                                                                                                                                 debtor’s interest

7.1.          SECURITY (FIESTA 5 THEATRE)                                                                                        $2,500.00
              CITY OF SANTA BARBARA
              P O BOX 1990
              SANTA BARBARA CA 93102

8.            Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
              Description, including name of holder of prepayment                                                                Current value of
                                                                                                                                 debtor’s interest
8.1.          RETAINER BALANCE                                                                                                   $4,553.70
              DONLIN, RECANO & COMPANY, INC.
8.2.          RETAINER BALANCE                                                                                                   $8,000.00
              KGI ADVISORS
8.3.          RETAINER BALANCE                                                                                                   $3,120.00
              LOEB & LOEB

9.         Total of part 2
           Add lines 7 through 8. Copy the total to line 81.                                                                          $18,173.70

    Part 3:      Accounts receivable

10.        Does the debtor have any accounts receivable?
           ¨ No. Go to Part 4.
           þ Yes. Fill in the information below.


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                                                                                                                            Current value of
                                                                                                                            debtor’s interest

11.           Accounts receivable
                                  Face amount         Doubtful or uncollectible
                                                      accounts

11a.1         90 days old or      $__________      - $_____________________          = ........ →                           $_______________
              less:

                                  Face amount         Doubtful or uncollectible
                                                      accounts

11b.1         Over 90 days old:   $186,226.98      - $_____________________          = ........ →                           $186,226.98

12.      Total of part 3
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                 $186,226.98


1
    NCM, FANDANGO & PHILLIP FRIDEN - RECEIVABLES AS OF 12/31/2023



    Part 4:      Investments

13.      Does the debtor own any investments?
         ¨ No. Go to Part 5.
         þ Yes. Fill in the information below.
                                                                                                    Valuation method used   Current value of
                                                                                                    for current value       debtor’s interest

14.      Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock

14.1. ___________________________________________________________________                           _____________________ $________________

15.           Non-publicly traded stock and interests in incorporated and unincorporated businesses,
              including any interest in an LLC, partnership, or joint venture
              Name of entity                                                      % of ownership
15.1.         ARLINGTON THEATRE PROPERTY LLC                                      1.00%             _____________________ UNDETERMINED
15.2.         CORWIN ASSOCIATES PARTNERSHIP                                       80.00%            _____________________ UNDETERMINED
15.3.1        GREELEY LIMITED PARTNERSHIP                                         49.00%            _____________________ UNDETERMINED
15.4.         METRO 4 THEATRE PROPERTY, LLC                                       76.51%            _____________________ UNDETERMINED
15.5.         METRO COLORADO                                                      100.00%           _____________________ UNDETERMINED
15.6.         METRO FOUNDRY, LLC                                                  99.00%            _____________________ UNDETERMINED
15.7.         METRO HOLLYWOOD LLC                                                 100.00%           _____________________ UNDETERMINED
15.8.         METRO NEWCO, LLC                                                    100.00%           _____________________ UNDETERMINED
15.9.         METRO NORTHWEST, LLC                                                80.00%            _____________________ UNDETERMINED
15.10.1 METROLUX PARTNERSHIP                                                      100.00%           _____________________ UNDETERMINED
15.11.1 METROPOLITAN ROCKY MOUNTAIN CINEMAS, LLC                                  90.00%            _____________________ UNDETERMINED


1
    INDIRECT




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16.         Government bonds, corporate bonds, and other negotiable and non-negotiable
            instruments not included in Part 1
            Describe
16.1.       _________________________________________________________________            ____________________ $_______________

17.     Total of part 4
        Add lines 14 through 16. Copy the total to line 83.                                                       UNDETERMINED

 Part 5:      Inventory, excluding agriculture assets

18.     Does the debtor own any inventory (excluding agriculture assets)?
        ¨ No. Go to Part 6.
        þ Yes. Fill in the information below.
           General description             Date of the last         Net book value of    Valuation method used   Current value of
                                           physical inventory       debtor's interest    for current value       debtor’s interest
                                                                    (Where available)
19.        Raw materials
19.1.      ________________________ _____________________ $___________________           _____________________ $_______________

20.        Work in progress
20.1.      ________________________ _____________________ $___________________           _____________________ $_______________

21.        Finished goods, including goods held for resale
21.1.      ________________________ _____________________ $___________________           _____________________ $_______________

22.        Other inventory or supplies
           General description             Date of the last physical Net book value of   Valuation method used   Current value of
                                           inventory                 debtor's interest   for current value       debtor’s interest
22.1.      CAMINO REAL CINEMA 6 #          3/1/2024                 $21,849.17           COST                    $21,849.17
           183 - FOOD & BEVERAGE,
           PAPER & PLASTICS,
           JANITORIAL CHEMICALS &
           SUPPLIES
22.2.      PLAZA DE ORO THEATRE # 3/1/2024                          $6,205.08            COST                    $6,205.08
           151 - FOOD & BEVERAGE,
           PAPER & PLASTICS,
           JANITORIAL CHEMICALS &
           SUPPLIES
22.3.      PASEO NUEVO THEATRE #           3/1/2024                 $11,887.19           COST                    $11,887.19
           105 - FOOD & BEVERAGE,
           PAPER & PLASTICS,
           JANITORIAL CHEMICALS &
           SUPPLIES
22.4.      PARK TWIN THEATRE # 006 3/1/2024                         $18,726.32           COST                    $18,726.32
           - FOOD & BEVERAGE,
           PAPER & PLASTICS,
           JANITORIAL CHEMICALS &
           SUPPLIES
22.5.      METRO 4 THEATRE # 104 -         3/1/2024                 $33,584.06           COST                    $33,584.06
           FOOD & BEVERAGE,
           PAPER & PLASTICS,
           JANITORIAL CHEMICALS &
           SUPPLIES
22.6.      CALEXICO 10 THEATRE #           3/1/2024                 $16,391.67           COST                    $16,391.67
           301 - FOOD & BEVERAGE,
           PAPER & PLASTICS,
           JANITORIAL CHEMICALS &
           SUPPLIES

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22.        Other inventory or supplies
           General description              Date of the last physical Net book value of   Valuation method used   Current value of
                                            inventory                 debtor's interest   for current value       debtor’s interest
22.7.      FIESTA 5 THEATRE # 102 -         1/1/2024                 $9,224.25            COST                    $9,224.25
           NON SELLABLE
           INVENTORY, INCLUDING
           SODA BIBS, ICEE BIBS,
           CONDIMENTS, PAPER &
           PLASTIC, AND JANITORIAL
           CHEMICALS & SUPPLIES
22.8.      FIESTA 5 THEATRE # 102 -         3/1/2024                 $5,251.77            COST                    $5,251.77
           SELLABLE INVENTORY -
           FOOD & BEVERAGE
22.9.      ARLINGTON THEATRE #              1/1/2024                 $13,122.91           COST                    $13,122.91
           101 - NON SELLABLE
           INVENTORY, INCLUDING
           SODA BIBS, ICEE BIBS,
           CONDIMENTS, PAPER &
           PLASTIC, NON SELLABLE
           FOOD & BEVERAGE, AND
           JANITORIAL CHEMICALS &
           SUPPLIES
22.10.     ARLINGTON THEATRE #              3/1/2024                 $26,649.23           COST                    $26,649.23
           101 - SELLABLE
           INVENTORY - FOOD &
           BEVERAGE & NON
           SELLABLE FOOD &
           BEVERAGE
22.11.     FAIRVIEW 3 THEATRE #             1/1/2024                 $15,309.26           COST                    $15,309.26
           182 - NON SELLABLE
           INVENTORY, INCLUDING
           SODA BIBS, ICEE BIBS,
           CONDIMENTS, PAPER &
           PLASTIC, NON SELLABLE
           FOOD & BEVERAGE, AND
           JANITORIAL CHEMICALS &
           SUPPLIES
22.12.     FAIRVIEW 3 THEATRE #             3/1/2024                 $3,609.06            COST                    $3,609.06
           182 - SELLABLE
           INVENTORY - FOOD &
           BEVERAGE

23.      Total of part 5
         Add lines 19 through 22. Copy the total to line 84.                                                          $181,809.97

24.      Is any of the property listed in Part 5 perishable?
         ¨ No
         þ Yes
25.      Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ¨ No
         þ Yes Book value: $31,890.19 Valuation method: COST Current value: $31,890.19
26.      Has any of the property listed in Part 5 been appraised by a professional within the last year?
         þ No
         ¨ Yes




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 Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
        þ No. Go to Part 7.
        ¨ Yes. Fill in the information below.
           General description                                              Net book value of   Valuation method    Current value of
                                                                            debtor's interest   used for current    debtor’s interest
                                                                            (Where available)   value

28.        Crops—either planted or harvested
28.1.      ___________________________________________________              $_______________    _________________ $_______________

29.        Farm animals. Examples: Livestock, poultry, farm-raised fish
29.1.      ___________________________________________________              $_______________    _________________ $_______________

30.        Farm machinery and equipment (Other than titled motor vehicles)
30.1.      ___________________________________________________              $_______________    _________________ $_______________

31.        Farm and fishing supplies, chemicals, and feed
31.1.      ___________________________________________________              $_______________    _________________ $_______________

32.        Other farming and fishing-related property not already listed in Part 6
32.1.      ___________________________________________________              $_______________    _________________ $_______________

33.     Total of part 6
        Add lines 28 through 32. Copy the total to line 85.                                                                $0.00

34.     Is the debtor a member of an agricultural cooperative?
        ¨ No
        ¨ Yes. Is any of the debtor’s property stored at the cooperative?
         ¨ No
         ¨ Yes
35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
        ¨ No
        ¨ Yes Book value: $______________ Valuation method: ____________________ Current value: $_____________
36.     Is a depreciation schedule available for any of the property listed in Part 6?
        ¨ No
        ¨ Yes
37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?
        ¨ No
        ¨ Yes
 Part 7:      Office furniture, fixtures, and equipment; and collectibles

38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
        ¨ No. Go to Part 8.
        þ Yes. Fill in the information below.
           General description                                              Net book value of   Valuation method    Current value of
                                                                            debtor's interest   used for current    debtor’s interest
                                                                            (Where available)   value

39.        Office furniture
39.1.      OFFICE FURNITURE & FIXTURES                                      $25,652.53          Net Book Value      $25,652.53

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40.        Office fixtures
40.1.      SEE, RESPONSE AT PART 7, NO. 39                                     $_______________    _________________ $_______________

41.        Office equipment, including all computer equipment and
           communication systems equipment and software

                                                                               Net book value of   Valuation method    Current value of
                                                                               debtor's interest   used for current    debtor’s interest
                                                                                                   value

41.1.      SEE, RESPONSE AT PART 7, NO. 39                                     $_______________    _________________ $_______________

42.        Collectibles. Examples: Antiques and figurines; paintings, prints, or other
           artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
           or baseball card collections; other collections, memorabilia, or collectibles
42.1.      ___________________________________________________                 $_______________    _________________ $_______________

43.     Total of part 7
        Add lines 39 through 42. Copy the total to line 86.                                                                $25,652.53

44.     Is a depreciation schedule available for any of the property listed in Part 7?
        ¨ No
        þ Yes
45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?
        þ No
        ¨ Yes
 Part 8:      Machinery, equipment, and vehicles

46.     Does the debtor own or lease any machinery, equipment, or vehicles?
        ¨ No. Go to Part 9.
        þ Yes. Fill in the information below.
           General description                                                 Net book value of   Valuation method    Current value of
           Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   used for current    debtor’s interest
           HIN, or N-number)                                                   (Where available)   value
                                                                               (Where available)
47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1.      2015 TOWN AND COUNTRY VAN                                           UNDETERMINED        _________________ UNDETERMINED

47.2.      2022 BMW 530E SEDAN - OWNED                                         $47,894.00          Net Book Value      $47,894.07

48.        Watercraft, trailers, motors, and related accessories. Examples: Boats,
           trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1.      ___________________________________________________                 $_______________    _________________ $_______________

49.        Aircraft and accessories
49.1.      ___________________________________________________                 $_______________    _________________ $_______________

50.        Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
50.1.      CARPETS & DRAPES                                                    $85.18              Net Book Value      $85.18
50.2.      CONCESSION EQUIPMENT                                                $1,885.02           Net Book Value      $1,885.02
50.3.      MARQUEES                                                            $6,410.99           Net Book Value      $6,410.99
50.4.      PROJECTOR EQUIPMENT                                                 $192,646.09         Net Book Value      $192,646.09
50.5.      SEATS                                                               $5,605.46           Net Book Value      $5,605.46
50.6.      THEATRE EQUIPMENT                                                   $36,622.26          Net Book Value      $36,622.26



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51.     Total of part 8
        Add lines 47 through 50. Copy the total to line 87.                                                                 $291,149.07

52.     Is a depreciation schedule available for any of the property listed in Part 8?
        ¨ No
        þ Yes
53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?
        þ No
        ¨ Yes
 Part 9:      Real property

54.     Does the debtor own or lease any real property?
        ¨ No. Go to Part 10.
        þ Yes. Fill in the information below.
           Description and location of property                  Nature and          Net book value      Valuation         Current value of
           Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
           Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
           (for example, acreage, factory, warehouse,            in property         (Where available)
           apartment or office building), if available.
55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.1.      __________________________________________            LEASEHOLD           $_____________      _______________ $_____________
           CORPORATE OFFICES
           __________________________________________
           8727 WEST 3RD STREET
           3RD FLOOR
           LOS ANGELES CA 90048

55.2.      __________________________________________            LEASEHOLD           $_____________      _______________ $_____________
           ARLINGTON THEATRE #101
           __________________________________________
           1317 STATE STREET
           SANTA BARBARA CA 93101

55.3.      __________________________________________            LEASEHOLD           $_____________      _______________ $_____________
           CAMINO REAL CINEMA 6 #183
           __________________________________________
           7040 MARKETPLACE DRIVE
           GOLETA CA 93117

55.4.      __________________________________________            LEASEHOLD           $_____________      _______________ $_____________
           FAIRVIEW 3 THEATRE #182
           __________________________________________
           225 NORTH FAIRVIEW AVENUE
           GOLETA CA 93117

55.5.      __________________________________________            LEASEHOLD           $_____________      _______________ $_____________
           FIESTA 5 THEATRE #102
           __________________________________________
           916 STATE STREET
           SANTA BARBARA CA 93101




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           Description and location of property                      Nature and          Net book value      Valuation         Current value of
           Include street address or other description such as       extent of           of debtor's         method used for   debtor’s interest
           Assessor Parcel Number (APN), and type of property        debtor’s interest   interest            current value
           (for example, acreage, factory, warehouse,                in property         (Where available)
           apartment or office building), if available.
55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.6.      __________________________________________                LEASEHOLD           $_____________      _______________ $_____________
           METRO 4 THEATRE #104
           __________________________________________
           618 STATE STREET
           SANTA BARBARA CA 93101

55.7.      __________________________________________                LEASEHOLD           $_____________      _______________ $_____________
           PASEO NUEVO THEATRE #105
           __________________________________________
           8 WEST DE LA GUERRA PLACE
           SANTA BARBARA CA 93101

55.8.      __________________________________________                LEASEHOLD           $_____________      _______________ $_____________
           PLAZA DE ORO THEATRE #151
           __________________________________________
           371 HITCHCOCK WAY
           SANTA BARBARA CA 93105

55.9.      __________________________________________                LEASEHOLD           $_____________      _______________ $_____________
           CALEXICO 10 THEATR #301
           __________________________________________
           2441 SCARONI ROAD
           CALEXICO CA 92231

55.10.     __________________________________________                LEASEHOLD           $_____________      _______________ $_____________
           PARK TWIN THEATRE #006
           __________________________________________
           6504 PACIFIC BLVD.
           HUNTINGTON PARK CA 90255

55.11.     __________________________________________                LEASEHOLD           $_____________      _______________ $_____________
           PARKING LOTS
           __________________________________________
           916, 918 & 920 STATE STREET
           SANTA BARBARA CA 93101

55.12.     __________________________________________                LEASEHOLD           $_____________      _______________ $_____________
           PARKING LOTS
           __________________________________________
           HUNTINGTON PARK CA

55.13.     __________________________________________                _______________ $_____________          _______________ $_____________
           RETAIL PROPERTY
           __________________________________________
           920 STATE STREET
           SANTA BARBARA CA 93101

56.      Total of part 9
         Add the current value on lines 55. Copy the total to line 88.                                                             $0.00




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57.      Is a depreciation schedule available for any of the property listed in Part 9?
         þ No
         ¨ Yes
58.      Has any of the property listed in Part 9 been appraised by a professional within the last year?
         þ No
         ¨ Yes
 Part 10: Intangibles and intellectual property

59.      Does the debtor have any interests in intangibles or intellectual property?
         ¨ No. Go to Part 11.
         þ Yes. Fill in the information below.
           General description                                          Net book value of   Valuation method     Current value of
                                                                        debtor's interest   used for current     debtor’s interest
                                                                        (Where available)   value

60.        Patents, copyrights, trademarks, and trade secrets
60.1.      MXL (STATE TM) COLORADO                                      $0.00               _________________ UNDETERMINED

60.2.      MXL (STATE TM) CALIFORNIA                                    $0.00               _________________ UNDETERMINED

60.3.      MXL (STATE TM) UTAH                                          $0.00               _________________ UNDETERMINED

60.4.      M REWARDS (STATE TM) COLORADO                                $0.00               _________________ UNDETERMINED

60.5.      M REWARDS (STATE TM) CALIFORNIA                              $0.00               _________________ UNDETERMINED

60.6.      M REWARDS (STATE TM) UTAH                                    $0.00               _________________ UNDETERMINED

60.7.      MXL (FEDERAL TM) FEDERAL                                     $0.00               _________________ UNDETERMINED

60.8.      M REWARDS (FEDERAL TM) FEDERAL                               $0.00               _________________ UNDETERMINED

60.9.      SCRIPTED BAR & KITCHEN (FEDERAL TM) FEDERAL                  $0.00               _________________ UNDETERMINED

61.        Internet domain names and websites
                                                                        Net book value of   Valuation method     Current value of
                                                                        debtor's interest                        debtor’s interest
61.1.      ARLINGTONSB.COM                                              $0.00               _________________ UNDETERMINED
61.2.      ARLINGTONTHEATERSB.COM                                       $0.00               _________________ UNDETERMINED
61.3.      ARLINGTONTHEATRESB.COM                                       $0.00               _________________ UNDETERMINED
61.4.      CINEMAITHELP.COM                                             $0.00               _________________ UNDETERMINED
61.5.      METROLUX14.COM                                               $0.00               _________________ UNDETERMINED
61.6.      METROLUXTHEATERS.COM                                         $0.00               _________________ UNDETERMINED
61.7.      METROLUXTHEATRES.COM                                         $0.00               _________________ UNDETERMINED
61.8.      METROPOLITANTHEATRES.COM                                     $0.00               _________________ UNDETERMINED
61.9.      METROTHEATRES.COM                                            $0.00               _________________ UNDETERMINED
61.10.     MTHEATERS.COM                                                $0.00               _________________ UNDETERMINED
61.11.     MTHEATRES.COM                                                $0.00               _________________ UNDETERMINED
61.12.     SCRIPTEDBARANDKITCHEN.COM                                    $0.00               _________________ UNDETERMINED

62.        Licenses, franchises, and royalties
62.1.      SOFTWARE LICENSE AGREEMENTS - SEE, SCHEDULE G                $4,597.90           Net Book Value       UNDETERMINED
62.2.      LIQUOR LICENSES                                              UNDETERMINED        _________________ UNDETERMINED


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62.3.     ROYALTY AGREEMENTS - SEE, SCHEDULE G                                  UNDETERMINED            _________________ UNDETERMINED

63.       Customer lists, mailing lists, or other compilations
63.1.     METROPOLITAN THEATRES - NEWSLETTER DATABASE                           $0.00                   _________________ UNDETERMINED
63.2.     M REWARDS - MEMBER DATABASE                                           $0.00                   _________________ UNDETERMINED
63.3.     ARLINGTON THEATRES - NEWSLETTER DATABASE                              $0.00                   _________________ UNDETERMINED
63.4.     SCRIPTED BAR & KITCHEN - NEWSLETTER DATABASE                          $0.00                   _________________ UNDETERMINED

64.       Other intangibles, or intellectual property
64.1.     ___________________________________________________                   $_______________        _________________ $_______________

65.       Goodwill
65.1.     ___________________________________________________                   $_______________        _________________ $_______________

66.     Total of part 10
        Add lines 60 through 65. Copy the total to line 89.                                                                        UNDETERMINED

67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A)
        and 107)?
        ¨ No
        þ Yes
68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        þ No
        ¨ Yes
69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?
        þ No
        ¨ Yes
 Part 11: All other assets

70.     Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.

        ¨ No. Go to Part 12.
        þ Yes. Fill in the information below.
                                                                                                                                  Current value of
                                                                                                                                  debtor’s interest

71.       Notes receivable
          Description (include name of obligor)                Total face amount          Doubtful or                             Current value of
                                                                                          uncollectible amount                    debtor’s interest

71.1.     ______________________________________               $_______________         - $_______________         = ........ →   $_______________
          ______________________________________

72.       Tax refunds and unused net operating losses (NOLs)
          Description (for example, federal, state,     Tax refund amount       NOL amount              Tax year                  Current value of
          local)                                                                                                                  debtor’s interest
72.1.     CALIFORNIA FRANCHISE TAX BOARD                $_______________        $17,728,597.00          THROUGH 2022              UNDETERMINED
          PO BOX 942857
          SACRAMENTO CA 94257-0531

73.       Interests in insurance policies or annuities
          Insurance company             Insurance policy      Annuity issuer name     Annuity account      Annuity account        Current value of
                                        No.                                           type                 No.                    debtor’s interest


Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                             Page 11 of 13
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73.1.      ______________________ _______________ _________________ _______________ _______________ $_______________

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)
                                                           Nature of claim                          Amount requested    Current value of
                                                                                                                        debtor’s interest
74.1.1     PHILLIP FRIDEN                                  ACCOUNTS RECEIVABLE COLLECTION           $130,000.00         UNDETERMINED


1
    INCLUDED AMOUNT OF $128,092.00 IN RESPONSE TO PART 3, NO. 11



75.          Other contingent and unliquidated claims or causes of action of
             every nature, including counterclaims of the debtor and rights to
             set off claims
                                                               Nature of claim                      Amount requested    Current value of
                                                                                                                        debtor’s interest
75.1.        __________________________________                __________________________________   $_______________    $_______________

76.        Trusts, equitable or future interests in property
76.1.      _______________________________________________________________________________________                      $_______________

77.        Other property of any kind not already listed
           Examples: Season tickets, country club membership
77.1.      DODGERS BASEBALL TICKETS                                                                                     $15,927.00
77.2.      METRO FOUNDRY, LLC - AFFILIATE RECEIVABLE                                                                    $1,343,467.44
77.3.      METRO NORTHWEST, LLC - AFFILIATE RECEIVABLE                                                                  $202,130.00
77.4.      METROPOLITAN ROCKY MOUNTAIN CINEMAS, LLC - AFFILIATE RECEIVABLE                                              $31,560.85
77.5.      8727 WEST THIRD STREET LLC - AFFILIATE RECEIVABLE                                                            $20,551.92

78.      Total of part 11
         Add lines 71 through 77. Copy the total to line 90.                                                               $1,613,637.21

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
         þ No
         ¨ Yes




Official Form 206A/B                           Schedule A/B: Assets — Real and Personal Property                                  Page 12 of 13
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 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.
      Type of property                                                                  Current value of                   Current value of
                                                                                        personal                           real property
                                                                                        property

80.   Cash, cash equivalents, and financial assets. Copy line 5,                            $316,991.46
      Part 1.

81.   Deposits and prepayments. Copy line 9, Part 2.                                         $18,173.70


82.   Accounts receivable. Copy line 12, Part 3.                                            $186,226.98


83.   Investments. Copy line 17, Part 4.                                                 UNDETERMINED


84.   Inventory. Copy line 23, Part 5.                                                      $181,809.97


85.   Farming and fishing-related assets. Copy line 33, Part 6.                                 $0.00


86.   Office furniture, fixtures, and equipment; and                                         $25,652.53
      collectibles. Copy line 43, Part 7.

87.   Machinery, equipment, and vehicles. Copy line 51, Part 8.                             $291,149.07



88.   Real property. Copy line 56, Part 9. ...................................................................... →              $0.00

89.   Intangibles and intellectual property. Copy line 66, Part 10.                      UNDETERMINED


90.   All other assets. Copy line 78, Part 11.                                     +       $1,613,637.21



91.   Total. Add lines 80 through 90 for each column. ..........91a.                       $2,633,640.92          + 91b.         $0.00




92.   Total of all property on Schedule A/B. Lines 91a + 91b = 92. ......................................................................      $2,633,640.92




Official Form 206A/B                              Schedule A/B: Assets — Real and Personal Property                                                Page 13 of 13
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Fill in this information to identify the case:

Debtor name: Metropolitan Theatres Corporation
United States Bankruptcy Court for the: Central District of California
Case number (if known): 24-11569

                                                                                                                               ¨ Check if this is an
                                                                                                                                      amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15

Be as complete and accurate as possible.

1.    Do any creditors have claims secured by debtor’s property?
      ¨   No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this
      form.
      þ Yes. Fill in all of the information below.
 Part 1:     List Creditors Who Have Secured Claims

2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, list the
      creditor separately for each claim.




Official Form 206D                    Schedule D: Creditors Who Have Claims Secured by Property                                          Page 1 of 4
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                                                                                                         Column A        Column B
                                                                                                         Amount of       Value of
                                                                                                         Claim           collateral that
                                                                                                         Do not deduct   supports this
                                                                                                         the value of    claim
                                                                                                         collateral.


2.1.     Creditor's name and address                     Describe debtor’s property that is subject
                                                         to a lien

         AMERICAN RIVIERA BANK                           ALL FIXTURES AND ARTICLES OF                    $5,200,000.00   UNDETERMINED
         1033 ANACAPA STREET                             PERSONAL PROPERTY AND ALL
         SANTA BARBARA CA 93101                          APPURTENANCES AND ADDITIONS
                                                         THERETO AND SUBSTITUTIONS OR
         Creditor’s email address, if known              REPLACEMENTS OR PROCEEDS
                                                         THERETO OR THEREOF, NOW OR AT ANY
         _____________________________________
                                                         TIME HEREAFTER OWNED BY THE
         Date debt was incurred: ____________            GRANTOR AND/OR DEBTOR LOCATED AT
                                                         1317 STATE ST., SANTA BARBARA, CA
         Last 4 digits of account number:                93101
         Do multiple creditors have an interest in the Describe the lien
         same property?
                                                       UCC-1 RECORDED 09/04/2020 IN STATE OF
         ¨   No                                        CALIFORNIA AS DOCUMENT NO.
                                                       U200016267831
         þ   Yes. Have you already specified the
         relative priority?                            Is the creditor an insider or related party?
             þ No. Specify each creditor, including      þ No
             this creditor, and its relative priority.
             THE U.S. SMALL BUSINESS                     ¨ Yes
             ADMINISTRATION HAS A FIRST                  Is anyone else liable on this claim?
             PRIORITY LIEN, SUPERIOR TO THE
             LIEN OF AMERICAN RIVIERA BANK                ¨ No
             ¨ Yes. The relative priority of creditors is þ Yes. Fill out Schedule H: Codebtors
             specified on lines: ______                  (Official Form 206H).
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.

                                                         þ Contingent
                                                         ¨ Unliquidated
                                                         ¨ Disputed




Official Form 206D                     Schedule D: Creditors Who Have Claims Secured by Property                                 Page 2 of 4
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2.2.       Creditor's name and address                     Describe debtor’s property that is subject
                                                           to a lien

           U.S. SMALL BUSINESS ADMINISTRATION              ALL TANGIBLE AND INTANGIBLE                         $497,934.00        UNDETERMINED
           1545 HAWKINS BLVD                               PERSONAL PROPERTY, INCLUDING, BUT
           SUITE 202                                       NOT LIMITED TO: (A) INVENTORY, (B)
           EL PASO TX 79925                                EQUIPMENT, (C) INSTRUMENTS,
                                                           INCLUDING PROMISSORY NOTES (D)
           Creditor’s email address, if known              CHATTEL PAPER, INCLUDING TANGIBLE
                                                           CHATTEL PAPER AND ELECTRONIC
           _____________________________________
                                                           CHATTEL PAPER, (E) DOCUMENTS, (F)
           Date debt was incurred: April 2020 & June       LETTER OF CREDIT RIGHTS, (G)
           2021                                            ACCOUNTS, ETC.

           Last 4 digits of account number:                Describe the lien

           Do multiple creditors have an interest in the UCC-1 RECORDED 07/20/2020 IN STATE OF
           same property?                                CALIFORNIA AS DOCUMENT NO.
                                                         U200002562619
           ¨   No
                                                         Is the creditor an insider or related party?
           þ   Yes. Have you already specified the
           relative priority?                              þ  No

               ¨ No. Specify each creditor, including      ¨ Yes
               this creditor, and its relative priority.   Is anyone else liable on this claim?
               _________________________________
               _________________________________            ¨ No
               þ Yes. The relative priority of creditors is þ Yes. Fill out Schedule H: Codebtors
               specified on lines: 2.1                     (Official Form 206H).
                                                           As of the petition filing date, the claim is:
                                                           Check all that apply.

                                                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed


       Total of the dollar amounts from Part 1, Column A, including the amounts
3.                                                                                                   $5,697,934.00
       from the Additional Page, if any.



 Part 2:       List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.
           Name and address                                                                                On which line in       Last 4 digits of
                                                                                                           Part 1 did you enter   account number
                                                                                                           the related            for this entity
                                                                                                           creditor?

3.1.       AMERICAN RIVIERA BANK                                                                           Line 2.1               _______________
           PO BOX 329
           SANTA BARBARA CA 93102

3.2.       U.S. SMALL BUSINESS ADMINISTRATION                                                              Line 2.2               _______________
           OFFICE OF GENERAL COUNSEL
           312 NORTH SPRING STREET
           5TH FLOOR
           LOS ANGELES CA 90012




Official Form 206D                       Schedule D: Creditors Who Have Claims Secured by Property                                        Page 3 of 4
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3.3.     US ATTORNEY                                                              Line 2.2               _______________
         ELAN S. LEVEY
         ASST. US ATTY/COUNSEL FOR SBA
         300 N. LOS ANGELES STREET
         FED. BLDG, RM 7516
         LOS ANGELES CA 90012




Official Form 206D             Schedule D: Creditors Who Have Claims Secured by Property                         Page 4 of 4
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Fill in this information to identify the case:

Debtor name: Metropolitan Theatres Corporation
United States Bankruptcy Court for the: Central District of California
Case number (if known): 24-11569

                                                                                                                               ¨ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                              12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G) .Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

 Part 1:     List All Creditors with PRIORITY Unsecured Claims

1.      Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        ¨ No. Go to Part 2.
        þ Yes. Go to line 2.
2.          List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If
            the debtor has more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.


2.1.1       Priority creditor’s name and mailing        As of the petition filing date, the claim     Total claim            Priority amount
            address                                     is:
                                                        Check all that apply.                         $401,981.00            UNDETERMINED
            GIFT CARD LIABILITIES
                                                        þ Contingent
                                                        ¨ Unliquidated                                                       Nonpriority amount

                                                        ¨ Disputed                                                           UNDETERMINED

            Date or dates debt was incurred             Basis for the claim:
            VARIOUS                                     GIFT CARD LIABILITY

            Last 4 digits of account                    Is the claim subject to offset?
            number:
                                                        þ No
            Specify Code subsection of PRIORITY
            unsecured claim:11 U.S.C. § 507(a) (7)      ¨ Yes

2.2.2       Priority creditor’s name and mailing        As of the petition filing date, the claim     Total claim            Priority amount
            address                                     is:
                                                        Check all that apply.                         $29,944.00             $29,944.00
            PRE-PETITION EMPLOYER PAYROLL
            TAXES                                       ¨ Contingent
                                                        ¨ Unliquidated                                                       Nonpriority amount

                                                        ¨ Disputed                                                           $0.00

            Date or dates debt was incurred             Basis for the claim:
            VARIOUS                                     EMPLOYER EMPLOYEE TAXES

            Last 4 digits of account                    Is the claim subject to offset?
            number:
                                                        þ No
            Specify Code subsection of PRIORITY
            unsecured claim:11 U.S.C. § 507(a) (8)      ¨ Yes

Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 1 of 55
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2.3.2      Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim         Priority amount
           address                                  is:
                                                    Check all that apply.                       $102,145.33         $102,145.33
           PRE-PETITION PAYROLL AT GROSS
                                                    ¨ Contingent
                                                    ¨ Unliquidated                                                  Nonpriority amount

                                                    ¨ Disputed                                                      $0.00

           Date or dates debt was incurred          Basis for the claim:
           VARIOUS                                  EMPLOYEE WAGES

           Last 4 digits of account                 Is the claim subject to offset?
           number:
                                                    þ No
           Specify Code subsection of PRIORITY
           unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

1
    AS OF 12/31/2022 AND TO BE RECONCILED. SEE GLOBAL NOTES
2
    SUBJECT TO POST-PETITION PAYMENT PURSUANT TO ORDER, DOCKET NO. 91




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 2 of 55
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 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims

3.          List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6
            creditors with nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.


3.1.        Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                              Check all that apply.
            8727 WEST THIRD STREET LLC                                                                        $62,808.54
            BONNIE FULLER                                     ¨ Contingent
            624 N FOOTHILL RD
            BEVERLY HILLS CA 90210                            ¨ Unliquidated
                                                              ¨ Disputed
            Date or dates debt was incurred                   Basis for the claim:
            VARIOUS                                           ACCOUNTS PAYABLE
            Last 4 digits of account number:                  Is the claim subject to offset?

                                                              ¨ No
                                                              ¨ Yes

3.2.        Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                              Check all that apply.
            8X8, INC - FORMERLY FUZE                                                                          $5,702.90
            PO BOX 848080                                     ¨ Contingent
            LOS ANGELES CA 90084-8080
                                                              ¨ Unliquidated
                                                              ¨ Disputed
            Date or dates debt was incurred                   Basis for the claim:
            VARIOUS                                           ACCOUNTS PAYABLE
            Last 4 digits of account number:                  Is the claim subject to offset?

                                                              ¨ No
                                                              ¨ Yes

3.3.        Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                              Check all that apply.
            A PLUS REFRIGERATION-INC-CORP                                                                     $2,884.20
            PO BOX 60437                                      ¨ Contingent
            SANTA BARBARA CA 93160
                                                              ¨ Unliquidated
                                                              ¨ Disputed
            Date or dates debt was incurred                   Basis for the claim:
            VARIOUS                                           ACCOUNTS PAYABLE
            Last 4 digits of account number:                  Is the claim subject to offset?

                                                              ¨ No
                                                              ¨ Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 3 of 55
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3.4.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           A24 FILMS LLC                                                                                     $4,281.24
           PO BOX 8297                                       ¨ Contingent
           PASADENA CA 91109-8297
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.5.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ADT COMMERCIAL                                                                                    $83.28
           PO BOX 219044                                     ¨ Contingent
           KANSAS CITY MO 64121-9044
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.6.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AEGON USA REALTY ADVISORS, INC.                                                                   $739,048.23
           4333 EDGEWOOD ROAD, N.E.                          þ Contingent
           CEDAR RAPIDS IA 52499
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           _________________________________________         GUARANTY
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 4 of 55
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3.7.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AIRGAS NATIONAL CARBONATION                                                                       $602.19
           PO BOX 734673                                     ¨ Contingent
           DALLAS TX 75373-4673
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.8.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALLIED BEVERAGES                                                                                  $2,770.67
           PO BOX 842685                                     ¨ Contingent
           LOS ANGELES CA 90084-2685
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.9.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AMERICAN EXPRESS - CORP                                                                           $3,972.82
           PO BOX 96001                                      ¨ Contingent
           LOS ANGELES CA 90096-8000
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.10.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ANGEL STUDIOS INC                                                                                 $2,996.96
           295 W CTR ST                                      ¨ Contingent
           PROVO UT 84601
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.11.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ARCADY DISTRIBUTING                                                                               $309.50
           100 ADAMS RD                                      ¨ Contingent
           GOLETA CA 93117
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.12.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ARLINGTON THEATRE PROPERTY LLC                                                                    $2,196,933.00
           8727 W THIRD ST                                   ¨ Contingent
           LOS ANGELES CA 90048
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TWO PROMISSORY NOTES
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 6 of 55
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3.13.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ARLINGTON THEATRE PROPERTY LLC                                                                    $30,604.00
           8727 W THIRD ST                                   ¨ Contingent
           LOS ANGELES CA 90048
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.14.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ASSOCIATED TIME ON DEMAND                                                                         $1,109.70
           ASSOCIATED TIME ON DEMAND                         ¨ Contingent
           565 WEST LAMBERT RD STE A
           BREA CA 92821                                     ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.15.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BANKDIRECT CAPITAL FINANCE                                                                        $17,147.11
           150 NORTH FIELD DR STE 190                        ¨ Contingent
           LAKE FOREST IL 60045
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.16.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BAY ALARM COMPANY-CORP                                                                            $3,100.11
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.17.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BETTER BEVERAGES, INC - CORP                                                                      $380.13
           PO BOX 1399                                       ¨ Contingent
           BELLFLOWER CA 90707
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.18.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BIG WORLD PICTURES                                                                                $87.40
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.19.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BLEECKER STREET MEDIA, LLC                                                                        $2,939.87
           PO BOX 411358                                     ¨ Contingent
           BOSTON MA 02241
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.20.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BLUE FOX ENTERTAINMENT 2 LLC                                                                      $125.21
           155 NORTH 400 WEST STE 400                        ¨ Contingent
           SALT LAKE CITY UT 84103
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.21.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRUCE CORWIN TRUST                                                                                $854,629.00
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           _________________________________________         LOAN PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.22.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CALEXICO REDEVELOPMENT AGENCY-NO1099                                                              $20,000.00
           FINANCE DIRECTOR                                  ¨ Contingent
           608 HEBER AVE
           CALEXICO CA 92231                                 ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.23.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAMINO REAL L.L.C.                                                                                $47,779.05
           1101 ANACAPA ST                                   ¨ Contingent
           STE 250
           SANTA BARBARA CA 93101                            ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.24.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAMINO REAL L.L.C. - CORP                                                                         $455.42
           1101 ANACAPA ST                                   ¨ Contingent
           STE 250
           SANTA BARBARA CA 93101                            ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.25.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHAMBERS & CHAMBERS                                                                               $1,305.60
           511 ALEXIS CT                                     ¨ Contingent
           NAPA CA 94558
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.26.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHAMBERS AND CHAMBERS WINE                                                                        $1,632.00
           MERCHANTS                                         ¨ Contingent
           511 ALEXIS CT
           NAPA CA 94558                                     ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.27.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHANNEL CITY LUMBER                                                                               $207.28
           35 AERO CAMINO                                    ¨ Contingent
           GOLETA CA 93117-3104
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.28.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CINEMA SOLUTIONS, INC.                                                                            $1,283.97
           PO BOX 591789                                     ¨ Contingent
           SAN ANTONIO TX 78259
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.29.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CINEVERSE                                                                                         $70.53
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.30.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CINIONIC, INC - CORP                                                                              $5,784.87
           PO BOX 889248                                     ¨ Contingent
           LOS ANGELES CA 90088
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.31.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CITY OF CALEXICO - ACCT 41907                                                                     $867.53
           608 HEBER AVE                                     ¨ Contingent
           CALEXICO CA 92231
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.32.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CITY OF SANTA BARBARA                                                                             $50.00
           735 ANACAPA ST                                    ¨ Contingent
           SANTA BARBARA CA 93101
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.33.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CITY OF SANTA BARBARA - ENVIRONMENTAL                                                             $240.00
           SERV.                                             ¨ Contingent
           735 ANACAPA ST
           SANTA BARBARA CA 93101                            ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.34.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CITY OF SANTA BARBARA - UTILITIES                                                                 $8,274.73
           735 ANACAPA ST                                    ¨ Contingent
           SANTA BARBARA CA 93101
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.35.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CITY OF SANTA BARBARA POLICE                                                                      $1,230.00
           DEPARTMENT                                        ¨ Contingent
           215 E. FIGUEROA ST.
           SANTA BARBARA CA 93101                            ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.36.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CITY OF SANTA BARBARA TRASH                                                                       $4,580.29
           CITY OF SANTA BARBARA - UTILITIES                 ¨ Contingent
           735 ANACAPA ST
           SANTA BARBARA CA 93101                            ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.37.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CITY OF SANTA BARBARA, TREAS.-NO1099                                                              $50,693.24
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.38.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COASTLINE ELECTRIC, INC.- CORP                                                                    $1,510.00
           7465 HOLLISTER #343                               ¨ Contingent
           GOLETA CA 93117
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.39.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CONSTELLATION NEW ENERGY INC - CORP                                                               $52,010.91
           100 CONSTELLATION WAY                             ¨ Contingent
           BALTIMORE MD 21202
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.40.1     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CORWIN ASSOCIATES PARTNERSHIP                                                                     $1,789,598.00
           8727 W THIRD ST                                   ¨ Contingent
           LOS ANGELES CA 90048
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           _________________________________________         AFFILIATE UNSECURED LIABILITY
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.41.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COX COMMUNICATIONS SANTA BARBARA                                                                  $233.80
           DEPT #880101                                      ¨ Contingent
           PO BOX 29650
           PHOENIX AZ 85038-9650                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.42.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CROCKER REFRIGERATION HEATING & AIR -                                                             $15,388.65
           CORP                                              ¨ Contingent
           5531 EKWILL ST
           SANTA BARBARA CA 93111                            ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.43.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DAVES'S SIGNS-CORP                                                                                $2,334.20
           4773 ORTEGA ST UNIT C                             ¨ Contingent
           VENTURA CA 93003
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.44.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DELUXE ECHOSTAR LLC                                                                               $440.00
           PO BOX 103375                                     ¨ Contingent
           PASADENA CA 91189
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.45.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DIGITAL CINEMA DISTRIBUTION COALITION LLC                                                         $1,820.00
           11726 SAN VICENTE BLVD STE 660                    ¨ Contingent
           LOS ANGELES CA 90049
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.46.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DISNEY                                                                                            $2,071.00
           PO BOX 732554                                     ¨ Contingent
           DALLAS TX 75373
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.47.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EASY ICE LLC                                                                                      $168.57
           PO BOX 879                                        ¨ Contingent
           MARQUETTE MI 49855
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.48.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EMICK MEDIA LLC                                                                                   $28,718.39
           PO BOX 572440                                     ¨ Contingent
           TARZANA CA 91357
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.49.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EMPLOYERS CHOICE ONLINE INC. - CORP                                                               $316.90
           13210 FLORENCE AVE                                ¨ Contingent
           SANTA FE SPRINGS CA 90670
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.50.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EMR CONCESSION LLC                                                                                $1,198.39
           3815 MULE CREEK CT                                ¨ Contingent
           SAN BERNARDINO CA 92407
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.51.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ENTERTAINMENT STUDIOS MOTION PICTURES                                                             $108.15
           LLC                                               ¨ Contingent
           GRISELDA GONZALEZ
           PO BOX 8457                                       ¨ Unliquidated
           PASADENA CA 91109-8457                            ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.52.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EVIRS, GRETCHEN                                                                                   $241.30
           1240 GARDENIA ST                                  ¨ Contingent
           OXNARD CA 93036
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.53.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EXPERIAN, EMPTECH - CORP                                                                          $755.00
           PO BOX 841971                                     ¨ Contingent
           LOS ANGELES CA 90084-1971
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.54.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FATHOM EVENTS                                                                                     $9,243.48
           AC JV LLC                                         ¨ Contingent
           PO BOX 734426
           CHICAGO IL 60673-4426                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.55.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FEDERAL EXPRESS                                                                                   $3,676.28
           PO BOX 7221                                       ¨ Contingent
           PASADENA CA 91109-7321
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.56.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FISH WINDOW CLEANING-CORP                                                                         $520.00
           933 CASTILLO ST                                   ¨ Contingent
           SANTA BARBARA CA 93101
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.57.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FOCUS FEATURES                                                                                    $2,956.75
           PO BOX 848270                                     ¨ Contingent
           DALLAS TX 75284
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.58.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FP MAILING SOLUTIONS                                                                              $162.95
           PO BOX 157                                        ¨ Contingent
           BEDFORD PARK IL 60499-0157
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.59.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GARDA CL WEST, INC - CORP                                                                         $8,078.21
           LOCKBOX 233209                                    ¨ Contingent
           3209 MOMENTUM PL
           CHICAGO IL 60689-5332                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.60.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GERARDO CHAVEZ GARDENING SERVICE                                                                  $325.00
           PO BOX 732                                        ¨ Contingent
           SANTA BARBARA CA 93102
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.61.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GKIDS                                                                                             $27,145.08
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.62.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GOLDEN LINK - CORP                                                                                $1,926.44
           6 DEPOT STREET, SUITE 207                         ¨ Contingent
           WASHINGTONVILLE NY 10992
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.63.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GOLETA WATER DISTRICT                                                                             $923.22
           PO BOX 847                                        ¨ Contingent
           GOLETA CA 93116-0847
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.64.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GOOD LAND PLUMBING & CONSTRUCTIONS                                                                $1,074.91
           INC. - CORP                                       ¨ Contingent
           298 ORANGE AVE #A
           SANTA BARBARA CA 93117-3603                       ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.65.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GOYO'S LANDSCAPING                                                                                $1,350.00
           733 VILLA GRANDE ST                               ¨ Contingent
           CALEXICO CA 92231
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.66.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRANITE TELECOMMUNICATIONS, LLC                                                                   $6,662.93
           PO BOX 830103                                     ¨ Contingent
           PHILADELPHIA PA 19182
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.67.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GREENBURG, RICK                                                                                   $172.86
           4545 CHAPPARAL DR                                 ¨ Contingent
           CARPINTERIA CA 93013
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.68.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HEADLANDS ENTERPRISES, INC                                                                        $36,434.00
           KELLY DOOLING                                     ¨ Contingent
           26511 MONTEBELLO PL
           MISSION VIEJO CA 92691                            ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.69.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOME DEPOT CREDIT SERVICES                                                                        $369.10
           DEPT XX-XXXXXX-7674                               ¨ Contingent
           PO BOX 78047
           PHOENIX AZ 85062-8047                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.70.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           I.A.T.S.E. NATIONAL HEALTH & WELFARE FUND                                                         $4,700.07
           55 WEST 39TH STREET, 5TH FLOOR                    ¨ Contingent
           NEW YORK NY 10018
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.71.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           I.A.T.S.E. SB LOCAL 442                                                                           $599.16
           PO BOX 413                                        ¨ Contingent
           SANTA BARBARA CA 93102
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.72.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ICEE-USA CORP.                                                                                    $15,795.28
           PO BOX 515723                                     ¨ Contingent
           LOS ANGELES CA 90051
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.73.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           IFC FILMS                                                                                         $5,687.80
           27413 NETWORK PL                                  ¨ Contingent
           CHICAGO IL 60673-1274
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.74.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           IMPERIAL IRRIGATION DISTRICT                                                                      $12,945.81
           333 EAST BARIONI BLVD                             ¨ Contingent
           IMPERIAL CA 92251
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.75.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           INDEPENDENT BANK                                                                                  $1,955,547.00
           P.O. BOX 3035                                     þ Contingent
           MCKINNEY TX 75070
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           _________________________________________         GUARANTY
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.76.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           INDEPENDENT BANK                                                                                  $20.00
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.77.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JANUS FILMS                                                                                       $257.06
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.78.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JJB FAMILY, LLC                                                                                   $21,500.00
           P.O. BOX 775184                                   þ Contingent
           STEAMBOAT SPRINGS CO 80477
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           _________________________________________         GUARANTY
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.79.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JORDANOS' INC                                                                                     $2,512.35
           PO BOX 6803                                       ¨ Contingent
           SANTA BARBARA CA 93160
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.80.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JOY EQUIPMENT PROTECTION, INC.                                                                    $225.00
           PO BOX 1080                                       ¨ Contingent
           CARPINTERIA CA 93014
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.81.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KCV CLEANING                                                                                      $10,500.00
           PO BOX 1062                                       ¨ Contingent
           SANTA BARBARA CA 93102
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.82.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LINDE GAS AND EQUIPMENT INC.                                                                      $700.85
           DEP LA 21511                                      ¨ Contingent
           PASADENA CA 91185-1511
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.83.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LIONSGATE ENTERTAINMENT                                                                           $1,678.15
           LIONSGATE LOCKBOX 29159                           ¨ Contingent
           4 CHASE METROTECH CTR
           7TH FL EAST                                       ¨ Unliquidated
           BROOKLYN NY 11245                                 ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.84.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOCKTON INSURANCE BROKERS, LLC                                                                    $6,435.00
           DEPT LA 23878                                     ¨ Contingent
           PASADENA CA 91185-3878
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.85.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOS ANGELES COUNTY TAX COLLECTOR                                                                  $24,666.37
           SMALL BUSINESS ADMINISTRATION                     ¨ Contingent
           225 N HILL ST #1
           LOS ANGELES CA 90012                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.86.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LUMINOSITY ENTERTAINMENT                                                                          $33.95
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.87.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MAGNOLIA FILMS                                                                                    $86.28
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.88.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MAIN FRAME/DARK SKY FILMS                                                                         $253.51
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.89.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MAJOR PLUMBING CO, INC.                                                                           $1,811.25
           1279 SIMPSON WAY                                  ¨ Contingent
           ESCONDIDO CA 92029
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.90.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARBORG INDUSTRIES INC-CORP                                                                       $6,552.41
           PO BOX 4127                                       ¨ Contingent
           SANTA BARBARA CA 93140-4127
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.91.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           METRO FOUR THEATRE PROPERTY, LLC                                                                  $80,869.46
           8727 W THIRD ST                                   ¨ Contingent
           LOS ANGELES CA 90048
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.92.1     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           METROLUX PARTNERSHIP                                                                              $371,929.11
           8727 W THIRD ST                                   ¨ Contingent
           LOS ANGELES CA 90048
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           _________________________________________         AFFILIATE UNSECURED LIABILITY
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.93.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MGM                                                                                               $4,050.99
           PO BOX 94623                                      ¨ Contingent
           SEATTLE WA 98124
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.94.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MID-WEST WHOLESALE LIGHTING - CORP                                                                $598.49
           PO BOX 27339                                      ¨ Contingent
           LOS ANGELES CA 90027-4913
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.95.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MILPAS RENTAL INC.                                                                                $1,011.60
           6 NORTH MILPAS ST                                 ¨ Contingent
           SANTA BARBARA CA 93103
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.96.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOVING IMAGE TECHNOLOGIES LLC                                                                     $2,291.36
           17760 NEW HOPE ST STE B                           ¨ Contingent
           FOUNTAIN VALLEY CA 92708
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.97.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MUBI                                                                                              $233.28
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.98.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MUSIC BOX FILMS                                                                                   $293.46
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.99.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NEON RATED LLC                                                                                    $11,072.60
           PO BOX 8260                                       ¨ Contingent
           PASADENA CA 91109
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.100.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NETFLIX                                                                                           $3,331.15
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.101.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           O'CONNOR PEST CONTROL                                                                             $500.00
           5569 EKWILL ST STE B                              ¨ Contingent
           GOLETA CA 93111
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.102.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           O'CONNOR PRINT & PROMO                                                                            $634.85
           PO BOX 483                                        ¨ Contingent
           ACTON CA 93510
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.103.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OPENTEXT INC. - CORP                                                                              $439.26
           JP MORGAN LOCKBOX                                 ¨ Contingent
           24685 NETWORK PL
           CHICAGO IL 60673                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.104.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OSRAM SYLVANIA INC. - CORP.                                                                       $2,899.93
           PO BOX 2114                                       ¨ Contingent
           CAROL STREAM IL 60132
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.105.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PACIFIC BEVERAGE CO                                                                               $1,979.25
           PO BOX 392                                        ¨ Contingent
           OXNARD CA 93032
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.106.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PARAMOUNT                                                                                         $26,783.37
           PO BOX 748774                                     ¨ Contingent
           LOS ANGELES CA 90074-8774
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.107.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PEPSI-COLA COMPANY (CHICAGO)                                                                      $10,350.68
           PEPSI-COLA LOCKBOX 1884                           ¨ Contingent
           75 REMITTANCE DR STE 1884
           CHICAGO IL 60675-1884                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.108.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PHILLIPS 66 CO/SYNCB                                                                              $429.61
           PO BOX 669824                                     ¨ Contingent
           DALLAS TX 75266
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.109.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PLAZA DE ORO (DELAWARE) LLC                                                                       $10,000.00
           MISSION HILL MANAGEMENT                           ¨ Contingent
           PO BOX 4218
           SANTA BARBARA CA 93140                            ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.110.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           POLAR BEAR SERVICES INC - CORP                                                                    $2,203.52
           7040 LONG CANYON RD                               ¨ Contingent
           SANTA MARIA CA 93454
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.111.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PROMAC IMAGE SYSTEMS CO.                                                                          $112.67
           1720 S VERMONT AVE                                ¨ Contingent
           LOS ANGELES CA 90006
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.112.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PROMENADE SHOPS - 10220472 LLC                                                                    $27,410.00
           220 EAST 42ND STREET                              þ Contingent
           27TH FLOOR
           NEW YORK NY 10017                                 ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           _________________________________________         GUARANTY
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.113.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           QUALITY WINDOWS, INC. -SANTA BARBARA                                                              $346.25
           534 N MILPAS ST                                   ¨ Contingent
           SANTA BARBARA CA 93103
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.114.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RANUCCI, PHIL                                                                                     $192.99
           1230 FRANCISCAN CT #8                             ¨ Contingent
           CARPINTERIA CA 93013
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.115.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REPROGRAPHICS, INC. - CORP                                                                        $437.21
           2600 CANTON CT STE E                              ¨ Contingent
           FORT COLLINS CO 80525
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.116.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REPUBLIC NATIONAL DISTRIBUTING LLC -                                                              $5,669.55
           CORP                                              ¨ Contingent
           PO BOX 743564
           LOS ANGELES CA 90074                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.117.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REPUBLIC PICTURES                                                                                 $110.78
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.118.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REPUBLIC SERVICES #467                                                                            $613.63
           PO BOX 78829                                      ¨ Contingent
           PHOENIX AZ 85062-8829
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.119.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROADSIDE ATTRACTIONS, LLC                                                                         $307.21
           PO BOX 511630                                     ¨ Contingent
           LOS ANGELES CA 90051-8185
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.120.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROYAL PAPER CORPORATION                                                                           $27,889.49
           10232 PALM DR                                     ¨ Contingent
           SANTA FE SPRINGS CA 90670
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.121.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RRM DESIGN GROUP                                                                                  UNDETERMINED
           32332 CAMINO CAPISTRANO #205                      þ Contingent
           SAN JUAN CAPISTRANO CA 92675
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           _________________________________________         LITIGATION
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.122.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SABAN FILMS                                                                                       $372.72
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.123.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SANTA BARBARA INDEPENDENT, INC                                                                    $5,358.66
           1715 STATE ST                                     ¨ Contingent
           SANTA BARBARA CA 93101
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.124.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCATENA & ROSNER FILMS                                                                            $47.78
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.125.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SMALL BUSINESS ADMINISTRATION                                                                     UNDETERMINED
           PO BOX 3918                                       þ Contingent
           PORTLAND OR 97208
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           SHUTTERED VENUE OPERATOR GRANTS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.126.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SN REALTY CORP                                                                                    UNDETERMINED
           C/O ARCADIA MANAGEMENT GROUP                      þ Contingent
           FORMERLY BKM HOLIDAY VILLAGE, LLC
           P.O. BOX 10                                       þ Unliquidated
           SCOTTSDALE AZ 85252-0010                          ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           _________________________________________         GUARANTY
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.127.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SN REALTY CORP                                                                                    UNDETERMINED
           C/O ARCADIA MANAGEMENT GROUP                      þ Contingent
           FORMERLY BKM HOLIDAY VILLAGE, LLC
           P.O. BOX 10                                       þ Unliquidated
           SCOTTSDALE AZ 85252-0010                          ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           _________________________________________         GUARANTY
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.128.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SO CAL GAS                                                                                        $6,538.22
           555 WEST FIFTH ST                                 ¨ Contingent
           LOS ANGELES CA 90013
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.129.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SONY PICTURES                                                                                     $13,292.19
           PO BOX 840550                                     ¨ Contingent
           DALLAS TX 75284-0550
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.130.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOUTHERN CALIFORNIA CINETECH-CORP                                                                 $2,580.00
           PO BOX 9849                                       ¨ Contingent
           CANOGA PARK CA 91309
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.131.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOUTHERN CALIFORNIA EDISON                                                                        $37,568.48
           8631 RUSH ST                                      ¨ Contingent
           ROSEMEAD CA 91770
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.132.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOUTHERN GLAZER'S OF CA SOUTH                                                                     $14,718.08
           2501 HOOVER ST                                    ¨ Contingent
           FILE 56002
           LOS ANGELES CA 90007                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.133.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STAPLES ADVANTAGE - CORP                                                                          $4,036.95
           PO BOX 660409                                     ¨ Contingent
           DALLAS TX 75266-0409
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.134.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SUPPLY SHOP - CORP                                                                                $548.04
           501 MAIN ST #455                                  ¨ Contingent
           ALEXANDRIA SD 57311
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.135.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE AVENUE                                                                                        $9,400.31
           6310 SAN VICENTE BLVD STE 500                     ¨ Contingent
           LOS ANGELES CA 90048
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.136.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE BOXOFFICE COMPANY LLC                                                                         $7,950.00
           63 COPPS HILL RD                                  ¨ Contingent
           RIDGEFIELD CT 06877
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.137.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE FOUNDRY THEATER, LLC                                                                          $31,560.00
           3528 PRECISION DRIVE                              þ Contingent
           SUITE 100
           FORT COLLINS CO 80528                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GUARANTY
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.138.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE PAVILION                                                                                      $54,872.77
           200 EAST CARRILLO ST                              ¨ Contingent
           STE 200
           SANTA BARBARA CA 93101                            ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.139.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THYSSENKRUPP ELEVATOR CORP.                                                                       $7,491.46
           PO BOX 3796                                       ¨ Contingent
           CAROL STREAM IL 60132-3796
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.140.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TOGNAZZINI BEVERAGE SERVICE - CORP                                                                $199.49
           241 ROEMER WAY                                    ¨ Contingent
           SANTA MARIA CA 93454
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.141.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TOWERSTREAM CORPORATION                                                                           $653.00
           PO BOX 414061                                     ¨ Contingent
           BOSTON MA 02241-4061
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.142.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRAFALGAR RELEASING                                                                               $392.88
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.143.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           UNIVERSAL                                                                                         $5,465.77
           PO BOX 848270                                     ¨ Contingent
           DALLAS TX 75284
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.144.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VALLEY VISTA SERVICES INC                                                                         $3,150.54
           17445 E RAILROAD ST                               ¨ Contingent
           CITY OF INDUSTRY CA 91748
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.145.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VELOCITY, A MANAGED SERVICES COMPANY -                                                            $2,064.98
           CORP                                              ¨ Contingent
           PO BOX 631310
           CINCINNATI OH 45263                               ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.146.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VERIFONE, INC.                                                                                    $3,220.00
           PO BOX 854060                                     ¨ Contingent
           MINNEAPOLIS MN 55485
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.147.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VERIZON                                                                                           $1,445.56
           PO BOX 660108                                     ¨ Contingent
           DALLAS TX 75266-0108
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.148.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VERTICAL ENTERTAINMENT                                                                            $774.34
           DEPT LA 25398                                     ¨ Contingent
           PASADENA CA 91185
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DISTRIBUTOR PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.149.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VISTA ENTERTAINMENT SOLUTIONS (USA),                                                              $55,614.42
           INC.                                              ¨ Contingent
           335 N MAPLE DR
           STE 150                                           ¨ Unliquidated
           BEVERLY HILLS CA 90201                            ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes

3.150.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VISTAR                                                                                            $72,351.14
           PO BOX 951080                                     ¨ Contingent
           DALLAS TX 75395
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             ¨ Yes




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3.151.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                               Check all that apply.
             VIVA PICTURES DISTRIBUTION                                                                        $1,244.67
             1539 WESTWOOD BLVD                                ¨ Contingent
             LOS ANGELES CA 90024
                                                               ¨ Unliquidated
                                                               ¨ Disputed
             Date or dates debt was incurred                   Basis for the claim:
             VARIOUS                                           DISTRIBUTOR PAYABLE
             Last 4 digits of account number:                  Is the claim subject to offset?

                                                               ¨ No
                                                               ¨ Yes

3.152.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                               Check all that apply.
             WARNER BROS.                                                                                      $2,919.44
             FINANCIAL ADMINISTRATION                          ¨ Contingent
             PO BOX 2910
             TOLUCA LAKE CA 91610                              ¨ Unliquidated
                                                               ¨ Disputed
             Date or dates debt was incurred                   Basis for the claim:
             VARIOUS                                           DISTRIBUTOR PAYABLE
             Last 4 digits of account number:                  Is the claim subject to offset?

                                                               ¨ No
                                                               ¨ Yes

3.153.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                               Check all that apply.
             WEST COAST ARCHIVES, LLC                                                                          $500.02
             1816 OAK ST                                       ¨ Contingent
             LOS ANGELES CA 90015
                                                               ¨ Unliquidated
                                                               ¨ Disputed
             Date or dates debt was incurred                   Basis for the claim:
             VARIOUS                                           ACCOUNTS PAYABLE
             Last 4 digits of account number:                  Is the claim subject to offset?

                                                               ¨ No
                                                               ¨ Yes

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    AS OF 12/31/2023




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 Part 3:     List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that
      may be listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional
      pages are needed, copy the next page.
      Name and mailing address                           On which line in Part 1 or Part 2 is the related        Last 4 digits of account
                                                         creditor (if any) listed?                               number, if any

      ALLEN MATKINS LECK GAMBLE MALLORY &                Part 2 line 3.23                                        _____________________
      NATSIS LLP
      IVAN M GOLD
      THREE EMBARCADERO CENTER, 12TH FLOOR
      SAN FRANCISCO CA 94111-4074

      ALLEN MATKINS LECK GAMBLE MALLORY &                Part 2 line 3.24                                        _____________________
      NATSIS LLP
      IVAN M GOLD
      THREE EMBARCADERO CENTER, 12TH FLOOR
      SAN FRANCISCO CA 94111-4074

      CITY OF SANTA BARBARA - ENVIRONMENTAL              Part 2 line 3.33                                        _____________________
      SERV.
      801 GARDEN STREET
      # 200
      SANTA BARBARA CA 93101

      PARAMOUNT PICTURES CORPORATION                     Part 2 line 3.106                                       _____________________
      MICOL GREEN, VP LEGAL AFFAIRS
      THEATRICAL DISTRIBUTION
      5555 MELROSE AVENUE
      ARZNER BUILDING #207
      LOS ANGELES CA 90038

      U.S. SMALL BUSINESS ADMINISTRATION                 Part 2 line 3.125                                       _____________________
      OFFICE OF GENERAL COUNSEL
      312 NORTH SPRING STREET
      5TH FLOOR
      LOS ANGELES CA 90012

      US ATTORNEY                                        Part 2 line 3.125                                       _____________________
      ELAN S. LEVEY
      ASST. US ATTY/COUNSEL FOR SBA
      300 N. LOS ANGELES STREET
      FED. BLDG, RM 7516
      LOS ANGELES CA 90012




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 Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts


5a.   Total claims from Part 1                                                           5a.        $534,070.33


5b.   Total claims from Part 2                                                           5b.   +    $9,088,736.00


      Total of Parts 1 and 2                                                                        $9,622,806.33
5c.                                                                                      5c.
      Lines 5a + 5b = 5c.




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Fill in this information to identify the case:

Debtor name: Metropolitan Theatres Corporation
United States Bankruptcy Court for the: Central District of California
Case number (if known): 24-11569

                                                                                                                               ¨ Check if this is an
                                                                                                                                       amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                            12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
       (Official Form 206A/B).
2.       List all contracts and unexpired leases                                                           State the name and mailing address
                                                                                                           for all other parties with whom the
                                                                                                           debtor has an executory contract or
                                                                                                           unexpired lease

2.1.     Title of contract                LEASE AND LEASE EXTENSION                                        8727 WEST THIRD STREET LLC
                                                                                                           BONNIE FULLER
         State what the contract or       REAL PROPERTY LEASE - CORPORATE OFFICES - 8727                   624 N FOOTHILL RD
         lease is for                     WEST 3RD STREET, 3RD FLOOR, LOS ANGELES, CA                      BEVERLY HILLS CA 90210
                                          90048

         Nature of debtor's interest      LESSEE

         State the term remaining         CONFIDENTIAL

         List the contract number of      _________________________________________________
         any government contract


2.2.     Title of contract                SPECIAL EVENTS - NETWORK AFFILIATE AGREEMENT                     State the name and mailing address
                                          AND AS AMENDED                                                   for all other parties with whom the
                                                                                                           debtor has an executory contract or
         State what the contract or       DISTRIBUTION OF ALTERNATIVE THEATRICAL CONTENT                   unexpired lease
         lease is for                     - 13 LOCATIONS IDENTIFIED IN EXHIBIT B
                                                                                                           AC JV, LLC
         Nature of debtor's interest      CONTRACT PARTY                                                   FATHOM
                                                                                                           ATTENTION: SVP OPERATIONS
         State the term remaining         12/31/2022 WITH AUTOMATIC 1 - YEAR RENEWALS; 90 -                6465 S GREENWOOD PLAZA BLVD
                                          DAYS WRITTEN NOTICE TO TERMINATE                                 GREENWOOD VILLAGE IL 80111
         List the contract number of      _________________________________________________
         any government contract


2.3.     Title of contract                CARVEOUT GUARANTEE AND INDEMNITY AGREEMENT                       State the name and mailing address
                                                                                                           for all other parties with whom the
         State what the contract or       _________________________________________________                debtor has an executory contract or
         lease is for                                                                                      unexpired lease
         Nature of debtor's interest      GUARANTOR                                                        AEGON USA REALTY ADVISORS,
                                                                                                           INC.
         State the term remaining         _________________________________________________                4333 EDGEWOOD RD NE
                                                                                                           CEDAR RAPIDS IA 52499
         List the contract number of      _________________________________________________
         any government contract




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2.4.     Title of contract             COMMERCIAL BUSINESS INSURANCE                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WORKERS’ COMPENSATION - POLICY NO.: WC 7            debtor has an executory contract or
         lease is for                  33811277                                            unexpired lease
         Nature of debtor's interest   INSURED                                             AMERICAN CASUALTY COMPANY
                                                                                           OF READING, PENNSYLVANIA
         State the term remaining      _________________________________________________   151 N FRANKLIN ST.
                                                                                           CHICAGO IL 60606
         List the contract number of   _________________________________________________
         any government contract


2.5.     Title of contract             GUARANTY AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   GUARANTOR                                           AMERICAN RIVIERA BANK
                                                                                           PO BOX 329
         State the term remaining      _________________________________________________   SANTA BARBARA CA 93102
         List the contract number of   _________________________________________________
         any government contract


2.6.     Title of contract             COMMERCIAL BUSINESS INSURANCE                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CYBER - POLICY NO. C-4LRK-044811-CYBER-2023         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             ARCH SPECIALTY INS. CO.;
                                                                                           210 HUDSON ST
         State the term remaining      _________________________________________________   SUITE 300
                                                                                           JERSEY CITY NJ '07311
         List the contract number of   _________________________________________________
         any government contract


2.7.     Title of contract             LEASE                                               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE - ARLINGTON THEATRE #101 -      debtor has an executory contract or
         lease is for                  1317 STATE STREET, , SANTA BARBARA, CA 93101        unexpired lease
         Nature of debtor's interest   LESSEE                                              ARLINGTON THEATRE PROPERTY,
                                                                                           LLC
         State the term remaining      CONFIDENTIAL                                        ATTN DAVID CORWIN
                                                                                           8727 W THIRD ST
         List the contract number of   _________________________________________________   LOS ANGELES CA 90048
         any government contract


2.8.     Title of contract             SUBSCRIBER TERMS                                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES                                            debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ASANA, INC.

         State the term remaining      ON 30 - DAYS WRITTEN NOTICE

         List the contract number of   _________________________________________________
         any government contract




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2.9.     Title of contract             COMMERCIAL BUSINESS INSURANCE                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CYBER - POLICY NO. C-4LRK-044811-CYBER-2023         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             ASCOT SPECIALY INS. CO.
                                                                                           212 MAPLE AVE
         State the term remaining      _________________________________________________   RED BANK NJ '07701-1758
         List the contract number of   _________________________________________________
         any government contract


2.10.    Title of contract             AWS SERVICE TERMS                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - SOFTWARE LICENSE                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LICENSEE                                            AWS

         State the term remaining      _________________________________________________

         List the contract number of   _________________________________________________
         any government contract


2.11.    Title of contract             PROJECT MANAGEMENT INSTALLATION AGREEMENT           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - FILM SCREEN CONVERSION - 74 - SCREENS    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BARCO, INC
                                                                                           DIGITAL CINEMA DIVISION
         State the term remaining      NOT STATED                                          11101 TRADE CENTER DR.
                                                                                           RANCHO CORDOVA CA 95670
         List the contract number of   _________________________________________________
         any government contract


2.12.    Title of contract             EQUIPMENT WARRANTY AND SUPPORT AGREEMENT            State the name and mailing address
                                       AND AS AMENDED                                      for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    EQUIPMENT - MAINTENANCE                             unexpired lease
         lease is for
                                                                                           BARCO, INC
         Nature of debtor's interest   CONTRACT PARTY                                      DIGITAL CINEMA DIVISION
                                                                                           11101 TRADE CENTER DR.
         State the term remaining      10 - YEARS FROM DEPLOYMENT OF LAST DIGITAL          RANCHO CORDOVA CA 95670
                                       CAMERA PROJECTION

         List the contract number of   _________________________________________________
         any government contract


2.13.    Title of contract             JOINT MARKETING AGREEMENT                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    EQUIPMENT - PURCHASE                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BARCO, INC
                                                                                           DIGITAL CINEMA DIVISION
         State the term remaining      NOT STATED                                          11101 TRADE CENTER DR.
                                                                                           RANCHO CORDOVA CA 95670
         List the contract number of   _________________________________________________
         any government contract




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2.14.    Title of contract             BEVERAGE SALES AGREEMENT                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REQUIREMENTS CONTRACT - SERVICES - BEVERAGE -       debtor has an executory contract or
         lease is for                  15 LOCATIONS IDENTIFIED IN EXHIBIT A                unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BOTTLING GROUP, LLC
                                                                                           ATTN: DIRECTOR, FOODSERVICE
         State the term remaining      4/30/2022 OR EXTENDED UNTIL VOLUME THRESHOLD        6261 CABALLERO BLVD
                                       MET WITH 30 - DAYS WRITTEN NOTICE TO TERMINATE      BUENA PARK CA 90620
         List the contract number of   _________________________________________________
         any government contract


2.15.    Title of contract             THEATRICAL EXHIBITION LICENSE AGREEMENT             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - THEATRE - MOTION PICTURE EXHIBITOR       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   EXHIBITOR / LICENSEE                                BUENA VISTA PICTURES
                                                                                           DISTRIBUTION
         State the term remaining      VARIOUS

         List the contract number of   _________________________________________________
         any government contract


2.16.    Title of contract             LEASE                                               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE - CAMINO REAL CINEMA 6 #183 -   debtor has an executory contract or
         lease is for                  7040 MARKETPLACE DRIVE, , GOLETA, CA 93117          unexpired lease
         Nature of debtor's interest   LESSEE                                              CAMINO REAL LIMITED LIABILITY
                                                                                           COMPANY
         State the term remaining      CONFIDENTIAL                                        1125 VEREDA DEL CIERVO
                                                                                           GOLETA CA 93117
         List the contract number of   _________________________________________________
         any government contract


2.17.    Title of contract             AGREEMENT AND QUOTE NO. 00178546                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - SOFTWARE LICENSE                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CARBONITE, INC.

         State the term remaining      NOT STATED

         List the contract number of   _________________________________________________
         any government contract


2.18.    Title of contract             DIGITAL CONTENT MANAGEMENT AND SUPPORT              State the name and mailing address
                                       AGREEMENT                                           for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    HARDWARE & SOFTWARE MARKETING FOR 15 -              unexpired lease
         lease is for                  THEATRES IDENTIFIED IN EXHIBIT F
                                                                                           CINEMA SCENE MARKETING &
         Nature of debtor's interest   CONTRACT PARTY                                      PROMOTIONS
                                                                                           A DIVISION OF VISION MEDIA
         State the term remaining      4/30/2022 WITH AUTOMATICI 1 - YEAR RENEWALS;        9200 INDIAN CREEK PKWY #200
                                       TERMINATED ON 90 - DAYS WRITTEN NOTICE              OVERLAND PARK KS 66210
         List the contract number of   _________________________________________________
         any government contract




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2.19.    Title of contract             LETTER OF AGREEMENT                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    TAKEOVER CAMPAIGN SERVICES                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CINEMA SCENE MARKETING &
                                                                                           PROMOTIONS
         State the term remaining      3/31/2022 WITH AUTOMATIC WITH AUTOMATIC 1 - YEAR    A DIVISION OF VISION MEDIA
                                       RENEWALS; TERMINATED ON 60 - DAYS WRITTEN           9200 INDIAN CREEK PKWY #200
                                       NOTICE                                              OVERLAND PARK KS 66210
         List the contract number of   _________________________________________________
         any government contract


2.20.    Title of contract             PO TEMPLATE - METRO22DECEW                          State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    EXTENDED WARRANTY - MULTIPLE THEATRES               debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CINIONIC INC.
                                                                                           NOW KNOWN AS BARCO
         State the term remaining      12/26/2023                                          PO BOX 889248
                                                                                           LOS ANGELES CA 90088
         List the contract number of   _________________________________________________
         any government contract


2.21.    Title of contract             PO TEMPLATE - METROHQ22                             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    EXTENDED WARRANTY - 285 EAST 3RD STREET             debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CINIONIC INC.
                                                                                           NOW KNOWN AS BARCO
         State the term remaining      12/26/2022                                          PO BOX 889248
                                                                                           LOS ANGELES CA 90088
         List the contract number of   _________________________________________________
         any government contract


2.22.    Title of contract             PO TEMPLATE - METRO-SC23                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    EXTENDED WARRANTY - 101 W AVENIDA VISTA             debtor has an executory contract or
         lease is for                  HERMOSA                                             unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CINIONIC INC.
                                                                                           NOW KNOWN AS BARCO
         State the term remaining      8/20/2024                                           PO BOX 889248
                                                                                           LOS ANGELES CA 90088
         List the contract number of   _________________________________________________
         any government contract


2.23.    Title of contract             LEASE AGREEMENT                                     State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE - CALEXICO 10 THEATR #301 -     debtor has an executory contract or
         lease is for                  2441 SCARONI ROAD, , CALEXICO, CA 92231             unexpired lease
         Nature of debtor's interest   LESSEE                                              CITY OF CALEXICO
                                                                                           608 HEBER AVENUE
         State the term remaining      CONFIDENTIAL                                        CALEXICO CA 92231
         List the contract number of   _________________________________________________
         any government contract




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2.24.    Title of contract             LEASE                                               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE - 916, 918 & 920 STATE ST.,     debtor has an executory contract or
         lease is for                  SANTA BARBARA, CA 93101 - PARKING                   unexpired lease
         Nature of debtor's interest   LESSEE                                              CITY OF SANTA BARBARA
                                                                                           CITY CLERK
         State the term remaining      CONFIDENTIAL                                        P.O. BOX 1990
                                                                                           SANTA BARBARA CA 93102-1990
         List the contract number of   CITY AGREEMENT 21 , 501
         any government contract


2.25.    Title of contract             COMCAST BUSINESS SERVICE ORDER AGREEMENT -          State the name and mailing address
                                       ORDER OID-0008526860                                for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    SERVICES - COMMUNICATIONS - LOVELAND, CO            unexpired lease
         lease is for
                                                                                           COMCAST BUSINESS
         Nature of debtor's interest   CONTRACT PARTY                                      ATTN LEGAL DEPT
                                                                                           COMCAST CENTER
         State the term remaining      6/28/2026                                           1701 JFK BLVD.
                                                                                           PHILADELPHIA PA 19103
         List the contract number of   _________________________________________________
         any government contract


2.26.    Title of contract             COMMERCIAL BUSINESS INSURANCE                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PROPERTY - POLICY NO.: 7033785702                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             CONTINENTAL CASUALTY
                                                                                           COMPANY
         State the term remaining      _________________________________________________   151 N FRANKLIN ST.
                                                                                           CHICAGO IL 60606
         List the contract number of   _________________________________________________
         any government contract


2.27.    Title of contract             STANDARD INDUSTRIAL/COMMERCIAL MULTI-TENANT         State the name and mailing address
                                       LEASE - GROSS                                       for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    REAL PROPERTY LEASE - FIESTA 5 THEATRE #102 - 916   unexpired lease
         lease is for                  STATE STREET, , SANTA BARBARA, CA 93101
                                                                                           COOKIE PLUG SB, INC.
         Nature of debtor's interest   LESSEE                                              ATTN ANNETTE RODRIGUES

         State the term remaining      CONFIDENTIAL

         List the contract number of   _________________________________________________
         any government contract


2.28.    Title of contract             COMMERCIAL SERVICES AGREEMENT DATED 10/26/2022      State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - COMMUNICATIONS/UTILITY - ARLINGTON -     debtor has an executory contract or
         lease is for                  1317 STATE ST                                       unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      COX BUSINESS
                                                                                           ATTN LEGAL DEPT
         State the term remaining      NOT STATED                                          6205-B PEACHTREE DUNWOODY
                                                                                           ROAD NE
         List the contract number of   _________________________________________________   ATLANTA GA 30328
         any government contract




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2.29.    Title of contract             END USER AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LICENSE AGREEMENT - CHANNEL PARTNER SUPPORT         debtor has an executory contract or
         lease is for                  AGREEMENT                                           unexpired lease
         Nature of debtor's interest   LICENSEE                                            CRADLEPOINT
                                                                                           1100 W. IDAHO STREET
         State the term remaining      ON 30 - DAYS WRITTEN NOTICE                         SUITE 800
                                                                                           BOISE ID 83702-5389
         List the contract number of   _________________________________________________
         any government contract


2.30.    Title of contract             FOUNTAIN SUPPORT AGREEMENT AND AS AMENDED           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - BEVERAGE PROMOTIONS                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      DR PEPPER/SEVEN UP, INC.
                                                                                           A KEURIG DR PEPPER COMPANY
         State the term remaining      12/31/2023 WITH TERMINATION ON 90 - DAYS NOTICE     5301 LEGACY DRIVE
                                                                                           PLANO TX 75024-3109
         List the contract number of   _________________________________________________
         any government contract


2.31.    Title of contract             LEASE AND AS AMENDED & SUPPLEMENTED                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE - FAIRVIEW 3 THEATRE #182 -     debtor has an executory contract or
         lease is for                  225 NORTH FAIRVIEW AVENUE, , GOLETA, CA 93117       unexpired lease
         Nature of debtor's interest   LESSEE                                              FAIRVIEW SHOPPING CENTER LLC
                                                                                           FINANCIAL MANAGEMENT GROUP
         State the term remaining      CONFIDENTIAL                                        345 NORTH MAPLE DR STE 284
                                                                                           BEVERLY HILLS CA 90210
         List the contract number of   _________________________________________________
         any government contract


2.32.    Title of contract             COMMERCIAL BUSINESS INSURANCE                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    MANAGEMENT LIABILITY - POLICY NO.: 8261-9019        debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             FEDERAL INSURANCE COMPANY
                                                                                           275 BATTERY ST FL 12
         State the term remaining      _________________________________________________   SAN FRANCISCO CA 94111-3305
         List the contract number of   _________________________________________________
         any government contract


2.33.    Title of contract             TERMS OF SERVICE EFFECTIVE 11/20/2023               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - SOFTWARE LICENSE                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LICENSEE                                            FRESHWORKS, INC.

         State the term remaining      THROUGH CURRENT SUBSCRIPTION TERM (NOT
                                       STATED) WITH AUTOMATIC RENEWALS; TERMINATED
                                       ON 60 - DAYS WRITTEN NOTICE

         List the contract number of   _________________________________________________
         any government contract




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2.34.    Title of contract             COMMERCIAL LEASE AGREEMENT                          State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE - 920 STATE ST., SANTA          debtor has an executory contract or
         lease is for                  BARBARA, CA 93101                                   unexpired lease
         Nature of debtor's interest   LESSOR                                              FUENTES, STEVEN AND ANDREW
                                                                                           GONZALES
         State the term remaining      CONFIDENTIAL                                        DBA 805 UNIVERSITY
                                                                                           805 UNIVERSITY
         List the contract number of   _________________________________________________   SANTA BARBARA CA 93101
         any government contract


2.35.    Title of contract             ORDER FORM NO. 20151202175441-38 AND RENEWAL        State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - HARDWARE & SOFTWARE LICENSE - 8727       debtor has an executory contract or
         lease is for                  WEST THIRD ST                                       unexpired lease
         Nature of debtor's interest   LICENSEE                                            FUZE, INC.
                                                                                           PO BOX 347284
         State the term remaining      NOT STATED                                          PITTSBURGH PA 15251
         List the contract number of   _________________________________________________
         any government contract


2.36.    Title of contract             ORDER FORM NO. 20190422101100-7                     State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - HARDWARE & SOFTWARE LICENSE -            debtor has an executory contract or
         lease is for                  LOVELAND, CO                                        unexpired lease
         Nature of debtor's interest   LICENSEE                                            FUZE, INC.
                                                                                           PO BOX 347284
         State the term remaining      NOT STATED                                          PITTSBURGH PA 15251
         List the contract number of   _________________________________________________
         any government contract


2.37.    Title of contract             CLIENT TERMS & CONDITIONS                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GOODS - PURCHASE                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      GHA TECHNOLOGIES, INC

         State the term remaining      NOT STATED

         List the contract number of   _________________________________________________
         any government contract


2.38.    Title of contract             DOMAIN NAME REGISTRATION AGREEMENT EFFECTIVE        State the name and mailing address
                                       12/8/2022                                           for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    SERVICES - DOMAIN NAME REGISTRATION                 unexpired lease
         lease is for
                                                                                           GOOGLE LLC
         Nature of debtor's interest   REGISTRANT                                          ATTN LEGAL DEPT
                                                                                           1600 AMPHITHEATRE PARKWAY
         State the term remaining      UNTIL TERMINATED                                    MOUNTAIN VIEW CA 94043
         List the contract number of   _________________________________________________
         any government contract




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2.39.    Title of contract             GOOGLE WORKSPACE TERMS OF SERVICE DATED             State the name and mailing address
                                       11/16/2023                                          for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    SERVICES - SLA                                      unexpired lease
         lease is for
                                                                                           GOOGLE LLC
         Nature of debtor's interest   CONTRACT PARTY                                      ATTN LEGAL DEPT
                                                                                           1600 AMPHITHEATRE PARKWAY
         State the term remaining      UNTIL TERMINATED                                    MOUNTAIN VIEW CA 94043
         List the contract number of   _________________________________________________
         any government contract


2.40.    Title of contract             TERMS OF SERVICE                                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - SOFTWARE LICENSE                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LICENSEE                                            GOTO
                                                                                           ATTN LEGAL DEPT
         State the term remaining      UNTIL TERMINATED                                    333 SUMMER STREET, 5TH FLOOR
                                                                                           BOSTON MA 02210
         List the contract number of   _________________________________________________
         any government contract


2.41.    Title of contract             COMMUNICATION PROVIDER NEW ACCOUNT &                State the name and mailing address
                                       NETWORK INTEGRATION                                 for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    SERVICES - COMMUNICATIONS                           unexpired lease
         lease is for
                                                                                           GRANITE TELECOMMUNICATIONS
         Nature of debtor's interest   CONTRACT PARTY                                      LLC
                                                                                           ATTN LEGAL DEPT
         State the term remaining      NOT STATED                                          PO BOX 830103
                                                                                           PHILADELPHIA PA 19182
         List the contract number of   _________________________________________________
         any government contract


2.42.    Title of contract             GROUP SIZE ATTESTATION                              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    EMPLOYEE BENEFITS - INSURANCE                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      HEALTH NET OF CALIFORNIA INC.
                                                                                           LEGAL DEPT
         State the term remaining      NOT STATED                                          21281 BURBANK BLVD
                                                                                           WOODLAND HILLS CA 91367
         List the contract number of   _________________________________________________
         any government contract


2.43.    Title of contract             CONTINUING GUARANTY                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   GUARANTOR                                           INDEPENDENT BANK
                                                                                           PO BOX 3035
         State the term remaining      _________________________________________________   MCKINNEY TX 75070
         List the contract number of   _________________________________________________
         any government contract




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2.44.    Title of contract             GUARANTEE OF LEASE                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   GUARANTOR                                           JJB FAMILY, LLC
                                                                                           P.O. BOX 775184
         State the term remaining      _________________________________________________   STEAMBOAT SPRINGS CO 80477
         List the contract number of   _________________________________________________
         any government contract


2.45.    Title of contract             JANITORIAL SERVICES AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - ARLINGTON THEATRE - 1317 STATE STREET    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      KVC
                                                                                           ATTN: ERNESTO VALENCIA
         State the term remaining      4/30/2024 WITH AUTOMATIC 1 - MONTH RENEWALS;        PO BOX 1062
                                       TERMINATED ON 30 - DAYS WRITTEN NOTICE              SANTA BARBARA CA 93101
         List the contract number of   _________________________________________________
         any government contract


2.46.    Title of contract             TERMS OF SERVICE                                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - SOFTWARE LICENSE                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LICENSEE                                            LASTPASS US LP
                                                                                           ATTN LEGAL DEPT
         State the term remaining      THROUGH CURRENT SUBSCRIPTION TERM (NOT              333 SUMMER STREET
                                       STATED) WITH AUTOMATIC 1 - YEARS RENEWALS;          BOSTON MA 02210
                                       TERMINATED ON 30 - DAYS WRITTEN NOTICE

         List the contract number of   _________________________________________________
         any government contract


2.47.    Title of contract             COMMERCIAL BUSINESS INSURANCE                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GENERAL LIABILITY - POLICY NO.: 018303178           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             LEXINGTON INSURANCE COMPANY
                                                                                           99 HIGH STREET
         State the term remaining      _________________________________________________   BOSTON MA '02110
         List the contract number of   _________________________________________________
         any government contract


2.48.    Title of contract             COMMERCIAL BUSINESS INSURANCE                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    DEADLY WEAPON PROTECT - POLICY NO.:                 debtor has an executory contract or
         lease is for                  CMTRO2300002                                        unexpired lease
         Nature of debtor's interest   INSURED                                             LLOYD'S LONDON
                                                                                           ATTENTION: LEGAL DEPARTMENT
         State the term remaining      _________________________________________________   280 PARK AVENUE
                                                                                           EAST TOWER 25TH FLOOR
         List the contract number of   _________________________________________________   NEW YORK NY 10017
         any government contract




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2.49.    Title of contract             _________________________________________________   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE - PARK TWIN THEATRE #006 -      debtor has an executory contract or
         lease is for                  6504 PACIFIC BLVD., , HUNTINGTON PARK, CA 90255     unexpired lease
         Nature of debtor's interest   LESSEE                                              MARY B SINGREY TRUST 1 & 2
                                                                                           THE SIMMONS FIRM
         State the term remaining      CONFIDENTIAL                                        DIANAN M. NIQUETTE
                                                                                           11440 W. BERNARDO CT. STE 212
         List the contract number of   _________________________________________________   THE PROMONTORY
         any government contract                                                           SAN DIEGO CA 92127-1643


2.50.    Title of contract             LEASE                                               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE - METRO 4 THEATRE #104 - 618    debtor has an executory contract or
         lease is for                  STATE STREET, , SANTA BARBARA, CA 93101             unexpired lease
         Nature of debtor's interest   LESSEE                                              METRO FOUR LLC
                                                                                           8727 W THIRD ST
         State the term remaining      CONFIDENTIAL                                        LOS ANGELES CA 90048
         List the contract number of   _________________________________________________
         any government contract


2.51.    Title of contract             THEATRE MANAGEMENT SERVICES AGREEMENT               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    THEATRE MANAGEMENT SERVICES                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      METROPOLITAN SAN CLEMENTE,
                                                                                           LLC
         State the term remaining      CONFIDENTIAL                                        8727 W. 3RD STREET
                                                                                           LOS ANGELES CA 90048
         List the contract number of   _________________________________________________
         any government contract


2.52.    Title of contract             MICROSOFT SERVICES AGREEMENT                        State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - SOFTWARE LICENSE                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LICENSEE                                            MICROSOFT CORPORATION
                                                                                           ATTN LEGAL DEPT
         State the term remaining      UNTIL TERMINATED                                    ONE MICROSOFT WAY
                                                                                           REDMOND WA 98052-6399
         List the contract number of   _________________________________________________
         any government contract


2.53.    Title of contract             NETWORK AFFILIATE AGREEMENT AND AS AMENDED          State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PROGRAMMING AND SHARED REVENUE AGREEMENT -          debtor has an executory contract or
         lease is for                  17 LOCATIONS IDENTIFIED IN EXHIBIT B                unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      NATIONAL CINEMEDIA, LLC

         State the term remaining      3/31/2026

         List the contract number of   _________________________________________________
         any government contract




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2.54.    Title of contract             LETTER AGREEMENT DATED 6/30/2023                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - OPERATIONS                               debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   MANAGER                                             NETFLIX
                                                                                           ATTN LYDIA TU MANAGER OF
         State the term remaining      CONFIDENTIAL                                        THEATER OPERATIONS
         List the contract number of   _________________________________________________
         any government contract


2.55.    Title of contract             JANITORIAL SERVICES AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES FOR 8 - LOCATIONS IDENTIFIED IN            debtor has an executory contract or
         lease is for                  ADDENDUM B                                          unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      NEW IMAGE THEATRE
                                                                                           MAINTENANCE
         State the term remaining      ON 30 - DAYS WRITTEN NOTICE                         ATTN: KELLY DOOLING
                                                                                           26511 MONTEBELLO PLACE
         List the contract number of   _________________________________________________   MISSION VIEJO CA 92691
         any government contract


2.56.    Title of contract             COMMERCIAL BUSINESS INSURANCE                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CYBER - POLICY NO. C-4LRK-044811-CYBER-2023         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             NORTH AMERICAN CAPACITY INS.
                                                                                           CO.
         State the term remaining      _________________________________________________   1200 MAIN STREET
                                                                                           SUITE 800
         List the contract number of   _________________________________________________   KANSAS CITY MO 64105
         any government contract


2.57.    Title of contract             _________________________________________________   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE - PLAZA DE ORO THEATRE #151     debtor has an executory contract or
         lease is for                  - 371 HITCHCOCK WAY, , SANTA BARBARA, CA 93105      unexpired lease
         Nature of debtor's interest   LESSEE                                              PLAZA DEL ORO, LLC
                                                                                           MISSION HILLS MANAGEMENT,
         State the term remaining      CONFIDENTIAL                                        219 ANACAPA ST.
                                                                                           SANTA BARBARA CA 93101
         List the contract number of   _________________________________________________
         any government contract


2.58.    Title of contract             GUARANTY AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   GUARANTOR                                           PROMENADE SHOPS - 10220472
                                                                                           LLC
         State the term remaining      _________________________________________________   220 EAST 42ND ST
                                                                                           27TH FL
         List the contract number of   _________________________________________________   NEW YORK NY 10017
         any government contract




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2.59.    Title of contract             LEASE                                               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE - PARKING LOT - HUNTINGTON      debtor has an executory contract or
         lease is for                  PARK, CA                                            unexpired lease
         Nature of debtor's interest   LESSEE                                              SINGREY, MARY R. ,
                                                                                           17322 DREY LN
         State the term remaining      CONFIDENTIAL                                        HUNTINGTON BEACH CA 92647
         List the contract number of   _________________________________________________
         any government contract


2.60.    Title of contract             GUARANTY                                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   GUARANTOR                                           SN REALTY CORP
                                                                                           C/O ARCADIA MANAGEMENT
         State the term remaining      _________________________________________________   GROUP
                                                                                           FORMERLY BKM HOLIDAY VILLAGE
         List the contract number of   _________________________________________________   II, LLC
         any government contract                                                           P.O. BOX 10
                                                                                           SCOTTSDALE AZ 85252-0010


2.61.    Title of contract             GUARANTY                                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   GUARANTOR                                           SN REALTY CORP
                                                                                           C/O ARCADIA MANAGEMENT
         State the term remaining      _________________________________________________   GROUP
                                                                                           FORMERLY BKM HOLIDAY VILLAGE,
         List the contract number of   _________________________________________________   LLC
         any government contract                                                           P.O. BOX 10
                                                                                           SCOTTSDALE AZ 85252-0010


2.62.    Title of contract             THEATRICAL MASTER LICENSE AGREEMENT                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - THEATRE - MOTION PICTURE EXHIBITOR       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   EXHIBITOR / LICENSEE                                SONY PICTURES RELEASING
                                                                                           CORPORATION
         State the term remaining      VARIOUS                                             ATTN RORY BRUER
                                                                                           10202 WASHINGTON BLVD
         List the contract number of   _________________________________________________   CULVER CITY CA 90232-3195
         any government contract


2.63.    Title of contract             LEASE AND AS AMENDED                                State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE - PASEO NUEVO THEATRE #105      debtor has an executory contract or
         lease is for                  - 8 WEST DE LA GUERRA PLACE, , SANTA BARBARA, CA    unexpired lease
                                       93101
                                                                                           SPHEAR INVESTMENTS, LLC
         Nature of debtor's interest   LESSEE                                              200 EAST CARRILLO ST
                                                                                           STE 200
         State the term remaining      CONFIDENTIAL                                        SANTA BARBARA CA 93101
         List the contract number of   _________________________________________________
         any government contract




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2.64.    Title of contract             COMMERCIAL BUSINESS INSURANCE                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    AUTO - POLICY NO.: BUA 7033785716                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             THE CONTINENTAL INSURANCE
                                                                                           COMPANY
         State the term remaining      _________________________________________________   151 N FRANKLIN ST.
                                                                                           CHICAGO IL 60606
         List the contract number of   _________________________________________________
         any government contract


2.65.    Title of contract             GUARANTY                                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   GUARANTOR                                           THE FOUNDRY THEATER LLC
                                                                                           3528 PRECISION DRIVE
         State the term remaining      _________________________________________________   SUITE 100
                                                                                           FORT COLLINS CO 80528
         List the contract number of   _________________________________________________
         any government contract


2.66.    Title of contract             ADOPTION AGREEMENT - NON-STANDARD                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    EMPLOYEE BENEFITS - 401(K) PROFIT SHARING PLAN -    debtor has an executory contract or
         lease is for                  METRO STAR SAVINGS PLAN                             unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      THE PRINCIPAL FINANCIAL GROUP
                                                                                           LEGAL DEPT
         State the term remaining      _________________________________________________   711 HIGH ST
                                                                                           DES MOINES IA 50392
         List the contract number of   _________________________________________________
         any government contract


2.67.    Title of contract             GOLD MAINTENANCE AGREEMENT                          State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ELEVATOR MAINTENANCE - THE PASEO NUEVO 4 - 8        debtor has an executory contract or
         lease is for                  WEST DE LA GUERRA PLACE                             unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      THYSSENKRUPP ELEVATOR
                                                                                           CORPORATION
         State the term remaining      7/24/2015 WITH AUTOMATIC 3 - YEAR RENEWALS          6087 TRIANGLE DRIVE
                                                                                           LOS ANGELES CA 90040
         List the contract number of   _________________________________________________
         any government contract


2.68.    Title of contract             BRONZE SERVICE AGREEMENT                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ELEVATOR MAINTENANCE - CAMINO REAL 6 - 7040         debtor has an executory contract or
         lease is for                  MARKET PLACE DRIVE                                  unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      THYSSENKRUPP ELEVATOR
                                                                                           CORPORATION
         State the term remaining      4/24/2021 WITH AUTOMATIC 5 - YEAR RENEWALS          2850 N CALIFORNIA ST
                                                                                           STE 120
         List the contract number of   _________________________________________________   BURBANK CA 91504
         any government contract




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2.69.    Title of contract             GOLD SERVICE AGREEMENT                              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ELEVATOR MAINTENANCE - HUNTINGTON PARK 2 - 6504     debtor has an executory contract or
         lease is for                  PACIFIC                                             unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      THYSSENKRUPP ELEVATOR
                                                                                           CORPORATION
         State the term remaining      4/24/2021 WITH AUTOMATIC 5 - YEAR RENEWALS          6087 TRIANGLE DRIVE
                                                                                           LOS ANGELES CA 90040
         List the contract number of   _________________________________________________
         any government contract


2.70.    Title of contract             GOLD SERVICE AGREEMENT                              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ELEVATOR MAINTENANCE - PASEO NUEVO 4 ELEVATOR       debtor has an executory contract or
         lease is for                  - 8 WEST DE LA GUERRA PLACE                         unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      THYSSENKRUPP ELEVATOR
                                                                                           CORPORATION
         State the term remaining      4/24/2021 WITH AUTOMATIC 5 - YEAR RENEWALS          2850 N CALIFORNIA ST
                                                                                           STE 120
         List the contract number of   _________________________________________________   BURBANK CA 91504
         any government contract


2.71.    Title of contract             PRODUCT SALE AGREEMENT                              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REQUIREMENTS CONTRACT - SERVICES - BEVERAGE - 8     debtor has an executory contract or
         lease is for                  - SANTA BARBARA LOCATIONS                           unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      TOGNAZZINI BEVERAGE SERVICE
                                                                                           241 ROEMER WEY
         State the term remaining      5 - YEARS FROM DATE OF FIRST DELIVERY (NOT          SANTA MARIA CA 93454
                                       SPECIFIED)

         List the contract number of   _________________________________________________
         any government contract


2.72.    Title of contract             COMMERCIAL BUSINESS INSURANCE                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    EXCESS - POLICY NO.: CUP-2T16628A-23-NF             debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             TRAVELERS EXCESS AND
                                                                                           SURPLUS LINES COMPANY
         State the term remaining      _________________________________________________   ONE TOWER SQUARE
                                                                                           HARTFORD CT '06183
         List the contract number of   _________________________________________________
         any government contract


2.73.    Title of contract             STANDARD INTERNET SERVICE ORDER AND MASTER          State the name and mailing address
                                       SERVICES AGREEMENT                                  for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    SERVICES - COMMUNICATIONS/UTILITY - 255 NORTH       unexpired lease
         lease is for                  FAIRVIEW AVENUE
                                                                                         TURN WIRELESS
         Nature of debtor's interest   CONTRACT PARTY                                    NOW KNOWN AS TOWERSTREAM
                                                                                         ATTN DANIEL TEFERRA PRESIDENT
         State the term remaining      2021 AND THEREAFTER MONTH TO MONTH TERMINATED 3533 OLD CONEJO ROAD
                                       ON 30 - DAYS NOTICE                               SUITE 122
                                                                                         NEWBURY PARK CA 91320
         List the contract number of   _________________________________________________
         any government contract




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2.74.    Title of contract             MOVE/ADD/CHANGE/DISCONNECT SERVICE ORDER            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - COMMUNICATIONS/UTILITY - 916 STATE ST    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      TURN WIRELESS
                                                                                           NOW KNOWN AS TOWERSTREAM
         State the term remaining      NOT STATED                                          ATTN DANIEL TEFERRA PRESIDENT
                                                                                           3533 OLD CONEJO ROAD
         List the contract number of   _________________________________________________   SUITE 122
         any government contract                                                           NEWBURY PARK CA 91320


2.75.    Title of contract             SERVICE ORDER AND MASTER SERVICES AGREEMENT         State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - COMMUNICATIONS/UTILITY - 371             debtor has an executory contract or
         lease is for                  HITCHCOCK WAY                                       unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                    TURN WIRELESS
                                                                                         NOW KNOWN AS TOWERSTREAM
         State the term remaining      2021 AND THEREAFTER MONTH TO MONTH TERMINATED ATTN DANIEL TEFERRA PRESIDENT
                                       ON 30 - DAYS NOTICE                               3533 OLD CONEJO ROAD
                                                                                         SUITE 122
         List the contract number of   _________________________________________________ NEWBURY PARK CA 91320
         any government contract


2.76.    Title of contract             SERVICE ORDER AND MASTER SERVICES AGREEMENT         State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - COMMUNICATIONS/UTILITY - 618 STATE       debtor has an executory contract or
         lease is for                  STREET                                              unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                    TURN WIRELESS
                                                                                         NOW KNOWN AS TOWERSTREAM
         State the term remaining      2021 AND THEREAFTER MONTH TO MONTH TERMINATED ATTN DANIEL TEFERRA PRESIDENT
                                       ON 30 - DAYS NOTICE                               3533 OLD CONEJO ROAD
                                                                                         SUITE 122
         List the contract number of   _________________________________________________ NEWBURY PARK CA 91320
         any government contract


2.77.    Title of contract             MASTER LICENSE AGREEMENT                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - THEATRE - MOTION PICTURE EXHIBITOR       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   EXHIBITOR / LICENSEE                                UNIVERSAL FILMS EXCHANGES
                                                                                           LLLP
         State the term remaining      VARIOUS                                             PO BOX 848270
                                                                                           DALLAS TX 75284
         List the contract number of   _________________________________________________
         any government contract


2.78.    Title of contract             TERMS OF SERVICE                                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - SOFTWARE LICENSE                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LICENSEE                                            UPTIME ROBOT SERVICE
                                                                                           PROVIDER LTD.
         State the term remaining      UNTIL TERMINATED                                    ATTN LEGAL DEPT
                                                                                           REGENT HOUSE
         List the contract number of   _________________________________________________   OFFICE 21, BISAZZA STREET
         any government contract                                                           SLIEMA SLM1640
                                                                                           MALTA




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2.79.    Title of contract             COMMERCIAL BUSINESS INSURANCE                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WORKERS’ COMPENSATION - POLICY NO.: WC 7            debtor has an executory contract or
         lease is for                  33785683                                            unexpired lease
         Nature of debtor's interest   INSURED                                             VALLEY FORGE INSURANCE
                                                                                           COMPANY
         State the term remaining      _________________________________________________   151 N FRANKLIN ST.
                                                                                           CHICAGO IL 60606
         List the contract number of   _________________________________________________
         any government contract


2.80.    Title of contract             STANDARD MERCHANT AGREEMENT FOR THE                 State the name and mailing address
                                       VERIFONE POINT SOLUTION                             for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    SERVICES - MERCHANT AGREEMENT                       unexpired lease
         lease is for
                                                                                           VERIFONE
         Nature of debtor's interest   CONTRACT PARTY                                      ATTN GENERAL COUNSEL
                                                                                           88 WEST PLUMERIA DRIVE
         State the term remaining      NOT STATED                                          SAN JOSE CA 95134
         List the contract number of   _________________________________________________
         any government contract


2.81.    Title of contract             TERMS OF SERVICE                                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - SOFTWARE LICENSE & COMMUNICATIONS        debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LICENSEE                                            VERIZON LONG DISTANCE LLC
                                                                                           BUSINESS DIGITAL VOICE 1310
         State the term remaining      UNTIL TERMINATED                                    NORTH COURTHOUSE RD
                                                                                           ARLINGTON VA 22201
         List the contract number of   _________________________________________________
         any government contract


2.82.    Title of contract             COVERING AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - COMPUTER SYSTEM INCLUDING                debtor has an executory contract or
         lease is for                  SOFTWARE, INSTALLATION, SOFTWARE DEVELOPMENT        unexpired lease
                                       AND SUPPORT SERVICES
                                                                                           VISTA ENTERTAINMENT
         Nature of debtor's interest   LICENSEE                                            SOLUTIONS (USA) INC
                                                                                           6300 WILSHIRE BLVD
         State the term remaining      10/10/2020                                          SUITE 940
                                                                                           LOS ANGELES CA 90048
         List the contract number of   _________________________________________________
         any government contract


2.83.    Title of contract             LICENSE AGREEMENT FOR VISTA MOBILE PARTNER          State the name and mailing address
                                       PROGRAM                                             for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    SERVICES - SOFTWARE LICENSE AND MANAGED             unexpired lease
         lease is for                  SERVICES
                                                                                           VISTA ENTERTAINMENT
         Nature of debtor's interest   LICENSEE                                            SOLUTIONS LIMITED
                                                                                           60 KHYBER PASS ROAD
         State the term remaining      NOT STATED                                          NEWTON
                                                                                           AUCKLAND
         List the contract number of   _________________________________________________   NEW ZEALAND
         any government contract




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2.84.    Title of contract             VISTA MOBILE SOFTWARE AND MANAGED SERVICES          State the name and mailing address
                                       PRICING & ORDER FORM                                for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    SERVICES - MANAGED - 16 LOCATIONS                   unexpired lease
         lease is for
                                                                                           VISTA ENTERTAINMENT
         Nature of debtor's interest   LICENSEE                                            SOLUTIONS LIMITED
                                                                                           60 KHYBER PASS ROAD
         State the term remaining      NOT STATED                                          NEWTON
                                                                                           AUCKLAND
         List the contract number of   _________________________________________________   NEW ZEALAND
         any government contract


2.85.    Title of contract             STANDARDS TERMS & CONDITIONS                        State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES - THEATRE - MOTION PICTURE EXHIBITOR       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   EXHIBITOR / LICENSEE                                WARNER BROS. DISTRIBUTING,
                                                                                           INC.
         State the term remaining      VARIOUS                                             FINANCIAL ADMINISTRATION
                                                                                           PO BOX 2910
         List the contract number of   _________________________________________________   TOLUCA LAKE CA 91610
         any government contract


2.86.    Title of contract             WEST WORLD MEDIA, LLC SERVICES AGREEMENT AND        State the name and mailing address
                                       AS AMENDED                                          for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    WEBSITE DESIGN AND MAINTENANCE                      unexpired lease
         lease is for
                                                                                           WEBEDIA MOVIES PRO LLC
         Nature of debtor's interest   CONTRACT PARTY                                      WEST WORLD MEDIA, LLC
                                                                                           63 COPPS HILL ROAD
         State the term remaining      NOT STATED                                          RIDGEFIELD CT 06877
         List the contract number of   _________________________________________________
         any government contract




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Fill in this information to identify the case:

Debtor name: Metropolitan Theatres Corporation
United States Bankruptcy Court for the: Central District of California
Case number (if known): 24-11569

                                                                                                                              ¨ Check if this is an
                                                                                                                                     amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.

1.     Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes
2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
       schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the
       debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list
       each creditor separately in Column 2.

       Column 1: Codebtor                                                           Column 2: Creditor

       Name                               Mailing address                           Name                               Check all schedules that
                                                                                                                       apply:


2.1.   ARLINGTON THEATRE                                                            AMERICAN RIVIERA BANK              þD
       PROPERTY LLC
                                                                                                                       ¨ E/F
                                                                                                                       þG
2.2.   BRUCE CORWIN                       8727 WEST 3RD ST                          U.S. SMALL BUSINESS                þD
                                          LOS ANGELES CA 90048                      ADMINISTRATION
                                                                                                                       ¨ E/F
                                                                                                                       ¨G
2.3.   CORWIN LIVING TRUST                8727 WEST 3RD ST                          AMERICAN RIVIERA BANK              þD
       DATED APRIL 22, 1987               LOS ANGELES CA 90048
                                                                                                                       ¨ E/F
                                                                                                                       ¨G
2.4.   METRO FOUNDRY LLC                                                            INDEPENDENT BANK                   ¨D
                                                                                                                       þ E/F
                                                                                                                       þG
2.5.   METRO FOUNDRY LLC                                                            THE FOUNDRY THEATER, LLC           ¨D
                                                                                                                       þ E/F
                                                                                                                       ¨G
2.6.   METRO FOUR THEATRE                                                           AEGON USA REALTY                   ¨D
       PROPERTY, LLC                                                                ADVISORS, INC.
                                                                                                                       þ E/F
                                                                                                                       þG

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       Column 1: Codebtor                                             Column 2: Creditor

       Name                       Mailing address                     Name                      Check all schedules that
                                                                                                apply:

2.7.   METRO NORTHWEST, LLC                                           JJB FAMILY, LLC           ¨D
                                                                                                þ E/F
                                                                                                þG
2.8.   METROLUX THEATRES                                              PROMENADE SHOPS -         ¨D
                                                                      10220472 LLC
                                                                                                þ E/F
                                                                                                þG
2.9.   METROPOLITAN/ROCKY                                             SN REALTY CORP            ¨D
       MOUNTAIN CINEMAS, LLC
                                                                                                þ E/F
                                                                                                þG




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